Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 1 of 39




                             Deposition of:
                    Thomas Dawson , III
                            June 12, 2019


                           In the Matter of:

                         Willis vs. USA




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     Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 2 of 39
                                 Thomas Dawson , III                 June 12, 2019
                                   Willis vs. USA

                                                                    Page 1

 1               IN THE UNITED STATES DISTRICT COURT

 2               FOR THE SOUTHERN DISTRICT OF GEORGIA

 3                       AUGUSTA DIVISION

 4

 5       SHERECIA WILLIS, Individually

 6       and as NEXT FRIEND, PARENT,

 7       and NATURAL GUARDIAN of

 8       MINOR CHILD, CW                          Civil File No:

 9               Plaintiffs                       1:17cv00015

10         vs.

11       UNITED STATES OF AMERICA

12               First Defendant

13       VENKATESAN GORANTIA, MD

14               Second Defendant

15       AUGUSTA HOSPITAL, LLC

16       d/b/a TRINITY HOSPITAL OF

17       AUGUSTA

18               Third Defendant

19       AUGUSTA PHYSICIAN SERVICES, LLC

20               Fourth Defendant

21       ----------------------------/




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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 3 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                             Page 2                                                                     Page 4
 1       The deposition of THOMAS J. DAWSON, III,                      1 APPEARANCES (Continued):

 2 ESQUIRE, MPH, MA was held on Wednesday, June 12, 2019,              2    ON BEHALF OF THE DEFENDANTS AUGUSTA HOSPITAL,

 3 commencing at 10:34 A.M., at the offices of TD&P                    3    VENKATESAN GORANTIA, MD, AUGUSTA PHYSICIAN

 4 Consulting, 1400 Spring Street, Silver Spring, Maryland             4    SERVICES:

 5 20910, before Heather Bjork Avalos, a Notary Public.                5    F. MICHAEL TAYLOR, ESQUIRE (Telephonically)

 6                                                                     6     Brennan, Wasden & Painter, LLC

 7                                                                     7     801 Broad Street, Suite 501

 8                                                                     8     Augusta, GA 30901

 9                                                                     9     Telephone: 706-250-7373

10                                                                    10     E-mail: Mtaylor@brennanwasden.com

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21 REPORTED BY: Heather Bjork Avalos                                  21

                                                             Page 3                                                                     Page 5
 1 APPEARANCES:                                                        1                  INDEX
 2    ON BEHALF OF THE PLAINTIFFS:                                     2   Deposition of THOMAS J. DAWSON, III, ESQUIRE, MPH, MA
 3     LEIGHTON MOORE, ESQUIRE (Telephonically)                        3                June 12, 2019
 4      The Moore Law Firm, PC                                         4
 5      100 Peachtree Street, Suite 2600                               5 Examination by:                           Page
 6      Atlanta, GA 30303                                              6     Mr. Moore                         6
 7      Telephone: 678-237-0330                                        7
 8      E-mail: Leighton@moorefirmpc.com                               8 Exhibit No.                         Marked
 9                                                                     9 Exhibit 1      Witness' CV                  9
10     ON BEHALF OF THE DEFENDANT UNITED STATES OF                    10 Exhibit 2      Notice of Deposition             31
11     AMERICA:                                                       11 Exhibit 3      Witness' testimony list          37
12     SHANNON STATKUS, ESQUIRE (Telephonically)                      12 Exhibit 4      Census Bureau state assessment 43
13      Assistant US Attorney                                         13             of health insurance
14      Southern District of Georgia                                  14 Exhibit 5      Witness' 5-21-18 report           58
15      P.O. Box 2017                                                 15 Exhibit 6      Brief No. 19-10011               68
16      Augusta, GA 30903                                             16 Exhibit 7      Witness' 5-7-19 report            73
17      E-mail: Shannon.statkus@usdoj.gov                             17
18                                                                    18
19                                                                    19
20                                                                    20
21                                                                    21

                                                                                                                               2 (Pages 2 - 5)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 4 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                             Page 6                                                               Page 8
 1           PROCEEDINGS                                               1 that type of thing?
 2             -------                                                 2      A    Correct.
 3 Whereupon,                                                          3      Q    And we've been doing a good job of this so
 4           THOMAS J. DAWSON, III, ESQUIRE, MPH, MA                   4 far. But as we get going, we may be tempted to talk
 5 called as a witness, having been first duly sworn to                5 over each other, anticipate each other's question or
 6 tell the truth, the whole truth, and nothing but the                6 answer. It's important for the court reporter and for
 7 truth, was examined and testified as follows:                       7 the benefit of the other people listening in on the
 8           MR. MOORE: So this is the deposition of                   8 call that we take turns speaking and not talk over each
 9 Mr. Tom Dawson and TD&P taken for all purposes under                9 other.
10 the Federal Rules of Civil Procedure and Federal Rules             10          Can we agree about that?
11 of Evidence.                                                       11      A    Yes.
12           Shannon, we reserve objections except as to              12      Q    And from time to time, your counsel may
13 form, responsiveness, or privilege?                                13 object to one of my questions. You understand that
14           MS. STATKUS: Yes, I'm agreeable to that.                 14 those objections are just for the record and that you
15           EXAMINATION BY MR. MOORE:                                15 still have to answer the question if you can?
16      Q     Mr. Dawson, would you please state your                 16      A    Correct.
17 full name for the court reporter?                                  17      Q    If any of my questions are unclear so that
18      A     Thomas James Dawson, III.                               18 you can't figure out what I'm asking or how to answer
19      Q     And what is your relationship to TD&P?                  19 it, please tell me and I'll try to clarify. But unless
20      A     I am the cofounder, CEO, and president.                 20 you tell me otherwise, I'll have to assume that you
21      Q     The report that the United States has filed             21 understood the question.
                                                             Page 7                                                               Page 9
 1 in this action stated on its cover that it is the                   1          Can we agree on that?
 2 report of TD&P, but the CV is your CV. So I'm trying                2      A    Yes.
 3 to get clear on the record that the opinions contained              3      Q    And as we discussed, if you need a break,
 4 in the report are your opinions.                                    4 we can take one as long as there is not a question
 5            Is that correct?                                         5 pending. If there is a question pending, if the Lord
 6       A     Correct.                                                6 permits I would prefer that you answer it first. Of
 7       Q     And were other staff members at TD&P                    7 course, we'll accommodate you.
 8 involved in the formation of those opinions?                        8          Do you understand?
 9       A     No.                                                     9      A    Yes.
10       Q     Did anyone at TD&P help you gather                     10             (Dawson Deposition Exhibit 1 was marked
11 information or prepare the report?                                 11 for purposes of identification.)
12       A     Yes.                                                   12      Q    Mr. Dawson, is the document before you your
13       Q     But the opinions are solely yours?                     13 current CV?
14       A     Correct.                                               14      A    With some modifications, yes.
15       Q     You've been deposed many times before, yes?            15      Q    Do you mean there would need to be some
16       A     Yes.                                                   16 modifications to bring it up to date?
17       Q     So you understand that you're under oath?              17      A    I've made some modifications to the
18       A     Yes.                                                   18 wording.
19       Q     And that, especially in this                           19      Q    Do you have a current CV that you could
20 telephone-deposition context, it's important for you to            20 provide to us?
21 give verbal answers and not nod or shake your head,                21      A    Yes.

                                                                                                                     3 (Pages 6 - 9)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 5 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                          Page 10                                                              Page 12
 1          MS. STATKUS: Leighton, is this the CV that               1      Q    I see. And was that also lobbying work?
 2 I sent to you this morning that was dated 6-19-19?                2      A    Yes. Sort of. It's hard to explain
 3          MR. MOORE: Well, I can't see what they                   3 without detail.
 4 labeled.                                                          4      Q    Was it under the general category of
 5          MS. STATKUS: The one sent this morning                   5 government relations work?
 6 would have had a Bates stamp on the bottom starting               6      A    Yes.
 7 with USA Willis depo 45.                                          7      Q    Before that, you were on Capitol Hill?
 8          THE WITNESS: That's mine. That's the                     8      A    Yes.
 9 right one.                                                        9      Q    And it looks like you were on Capitol Hill
10      Q     That's the one you have in front of you,              10 during the passage of the Obama Care legislation.
11 Mr. Dawson?                                                      11          Is that right?
12      A     That's the one I have in front of me.                 12      A    Correct.
13      Q     In substance, is this current?                        13      Q    So when did you become a registered
14      A     Yes.                                                  14 lobbyist?
15      Q     And so presently your employment is with              15      A    When did I become a registered lobbyist?
16 TD&P Consulting, Incorporated?                                   16      Q    Yes.
17      A     Correct.                                              17      A    The first time I was registered as a
18      Q     How long has that been your primary                   18 lobbyist I believe was when I was with Health Policy
19 employment?                                                      19 Analysts. The next occasion in which I was registered
20      A     Since 2014.                                           20 as a lobbyist was when I was with Financial Executives
21          2010 is when I started the company. 2014                21 International. And the next occasion in which I was
                                                          Page 11                                                              Page 13
 1 when it became my sole source of income.                          1 actually registered as a lobbyist -- I was not
 2      Q     Before 2014, were you employed by the                  2 registered as a lobbyist with the American Capital
 3 American Dental Association?                                      3 Group because I did not lobby during that period. I
 4      A     Yes.                                                   4 had a cooling-off period as they would say. Then was
 5      Q     As a lobbyist?                                         5 with the American Dental Association.
 6      A     As a senior Congressional lobbyist.                    6      Q    The cooling-off period you referred to, is
 7      Q     And before that, you were employed by the              7 that because you worked on Capitol Hill?
 8 American Capital Group?                                           8      A    Correct.
 9      A     I worked in association with the American              9      Q    So there was a period after working on
10 Capital Group.                                                   10 Capitol Hill during which you could not registrar as a
11      Q     Explain to me what you mean by that.                  11 lobbyist?
12      A     I worked under the umbrella of the American           12      A    You're permitted to register as a lobbyist.
13 Capital Group.                                                   13 You're not permitted to communicate with your previous
14      Q     What is the American Capital Group? I mean            14 committee.
15 I can see what's written here on the CV.                         15      Q    So there are limits to the subject matter
16          Does it not employ people like you?                     16 on which you can perform lobbying work?
17      A     I wasn't employed by the American Capital             17      A    Correct.
18 Group. I worked under -- or in association with -- it            18      Q    Since 2013, you have been registered as a
19 was a grouping of people with different companies who            19 lobbyist?
20 are under the umbrella of the organization. So we all            20      A    I have not been registered as a lobbyist
21 had our own -- we were all independent contractors.              21 since I left the American Dental Association.

                                                                                                              4 (Pages 10 - 13)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 6 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                          Page 14                                                              Page 16
 1      Q     So does TD&P Consulting, Incorporated                  1      A    District of Columbia.
 2 perform any lobbying work?                                        2      Q    Do you practice law?
 3      A     No.                                                    3      A    No.
 4      Q     What is the nature of its work?                        4      Q    Is your bar membership active?
 5      A     Applied health policy and litigation                   5      A    Yes.
 6 support.                                                          6      Q    Do you have any disciplinary history in the
 7      Q     I think I understand what litigation                   7 jurisdiction where --
 8 support is, generally speaking. What is applied health            8      A    No.
 9 policy?                                                           9      Q    You also have a master of public health?
10      A     It's an area of policy in which policy                10      A    Correct.
11 professionals apply that -- their knowledge to                   11      Q    From George Washington University?
12 real-world situations.                                           12      A    Correct.
13           For example, in the present case or working            13      Q    Was there a specialization in your studies?
14 maybe for a corporation to help them develop strategies          14      A    Yes.
15 and/or policies for the companies that they are                  15      Q    And what was that specialization?
16 involved in. Or working for a not-for profit or any              16      A    Health policy.
17 practical application of policy.                                 17      Q    How is health policy defined within the
18      Q     So, roughly speaking, what percentage of              18 field of public health?
19 TD&P Consulting, Incorporated's revenue comes from               19      A    Health policy is generally defined as those
20 litigation support?                                              20 individuals who are involved in the development of
21      A     I would say about 90 percent of it.                   21 health policy, specific emphasis on health economics,
                                                          Page 15                                                              Page 17
 1      Q     And the other 10 percent comes from applied            1 health cost -- healthcare cost, healthcare delivery,
 2 health policy?                                                    2 epidemiology.
 3      A     I'm sorry. I was confused about your                   3      Q    You're not an epidemiologist, are you?
 4 question. All of the work is applied health policy.               4      A    No.
 5      Q     Okay. So when you do litigation support                5      Q    What was your -- did you write a thesis for
 6 and you form opinions such as you've done in this case,           6 your master's degree -- the master's in public health?
 7 you consider that to be applied health policy?                    7      A    The master's in public health does not
 8      A     Yes.                                                   8 involve a thesis, or at least I can't remember one.
 9      Q     Okay. So the remaining 10 percent of TD&P              9 It's been a while.
10 Consulting, Incorporated's income that does not come             10      Q    And then you also have a master of arts in
11 from litigation support, what types of projects does             11 philosophy?
12 that revenue come from?                                          12      A    Yes. Actually, I have a master's of arts
13      A     Still applied health policy, but often                13 in philosophy. And I am ABD regarding my Ph.D. in the
14 giving consulting and/or advice to not-for-profit                14 area.
15 organizations or individuals.                                    15      Q    You have I have that in common.
16      Q     Your education -- you have a law degree,              16          What was your field of study in the
17 correct?                                                         17 discipline of philosophy?
18      A     Correct.                                              18      A    Philosophy is social science focussed on
19      Q     Are you a member of the bar?                          19 economic theory.
20      A     Yes.                                                  20      Q    What was the topic of your dissertation?
21      Q     In what jurisdiction?                                 21      A    I don't remember exactly, but it was

                                                                                                             5 (Pages 14 - 17)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 7 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 18                                                               Page 20
 1 regarding a gentleman by the name of Yahn Elster on                1 Maybe they are. Maybe they aren't. Some of the
 2 rational choice theory.                                            2 speaking engagements talking about cost.
 3      Q    And then you have some publications listed               3            But anyway Defined Contribution Health
 4 at the end of your CV. Can you identify any of those               4 Plans Shifting Costs and Responsibility speaks to
 5 publications that overlap, with regard to subject                  5 healthcare costs in the marketplace and how to control
 6 matter, the topics on which you have formed opinions in            6 those costs through defined contribution plans.
 7 this case?                                                         7      Q      What about Ohio court decision reduces
 8      A    A few of them overlap. I would say                       8 damages award based on ACA --
 9 certainly the last -- all of these actually have                   9      A      That article speaks to a decision in the
10 something to do with my understanding of healthcare and           10 Ohio courts regarding the role of the ACA and whether
11 how it works.                                                     11 or not it did impact the damages. That centered
12          For example, there was an article I wrote a              12 primarily on the question of whether or not the ACA was
13 while back called Healthcare Purchasing Pools, Expanded 13 or was not a collateral source. Ultimately, I think
14 Coverage Through HPs. That was about purchasing pools 14 that dealt with a municipality issue. But I did speak
15 and costs. In essence, the larger the pool of                     15 about that. In that particular case, I wrote an
16 purchasers, the lower the cost. We have more                      16 article on it.
17 purchasing power. And the focus was on how to improve             17      Q      Was that article published?
18 or increase in purchasing power in order to stabilize             18      A      I don't think this article was published.
19 the market -- or stabilize costs for that association             19 I'm not certain. Actually, I don't remember. I have a
20 purchasing healthcare.                                            20 few articles that have been published. And I have not
21      Q    What does that have to do with your                     21 been the best record keeper on that point. I do need
                                                           Page 19                                                               Page 21
 1 opinions in this case?                                             1 to look back at some of the files.
 2      A    When I am analyzing or looking at                        2      Q      What was the Ohio court decision that's
 3 reasonable value, as I did in this particular case,                3 referred to in the title of this paper?
 4 what I look at are the different pools of purchasers               4      A      I don't recall.
 5 and determine their purchasing power in order to come              5      Q      Was the court applying Ohio law?
 6 up with a conclusion about the impact that their                   6      A      That I recall. Yes.
 7 ability to purchase in that market will have on overall            7      Q      Was it a federal or a state court?
 8 costs.                                                             8      A      I believe it was a state court.
 9      Q    Any other publication?                                   9      Q      Was the damages award reduced in a post
10      A    Define Contribution Health Plans probably               10 verdict proceeding?
11 would have something to do with that. It's been a                 11      A      I don't recall.
12 while. I have, actually, a few more things, but                   12      Q      How did the ACA figure into the reduction
13 they're not published outright. They're actually a                13 of damages in that case?
14 part of some presentations I've given.                            14      A      I don't think the ACA figured -- let me
15      Q    Which ones are you talking about?                       15 restate.
16      A    The presentations?                                      16            The ACA -- if I recall correctly, the judge
17      Q    Are they listed here?                                   17 accepted the ACA as a collateral source admissible in
18      A    Some are. I think that I need to go back                18 this particular case, to be considered in this
19 and look into my files to look at some other                      19 particular case. And therefore, based on that state's
20 presentations I've given over the last few years. I've            20 law, it could be reduced -- it could be used to reduce
21 given a few, although I thought they were listed here.            21 the amount of money the third party was responsible for

                                                                                                                  6 (Pages 18 - 21)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 8 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 22                                                                Page 24
 1 to the plaintiff in this case.                                     1          MS. STATKUS: Yes. We'll look for those.
 2      Q    So the jury awarded an amount of damages,                2 If available, certainly provide those to you.
 3 and then the judge reduced that award based on the                 3          MR. MOORE: Okay. Thank you.
 4 availability of the collateral source?                             4          We may need to reopen the deposition for
 5      A    Again, I don't know -- I don't remember how              5 examination on the publication, but we may not. It
 6 they treated the collateral source issue here. It may              6 just depends. But we're reserving that right.
 7 be the case that the judge allowed the jury to hear                7          MS. STATKUS: Okay. That's agreeable.
 8 information about the collateral source. Or it could               8          THE WITNESS: The --
 9 be the case it wasn't a post collateral source hearing.            9      Q    Were you -- did you have more to say about
10 I really don't remember the details. I haven't                    10 the publications, Mr. Dawson?
11 actually seen this in a long time.                                11      A    No. I thought you were asking me a
12      Q    Okay. What about the next article, the                  12 question. I'm sorry.
13 Collateral Source Rule that American Healthcare Act               13      Q    What about your two presentations that are
14 Impact on the Affordable Care Act and the Mitigation of           14 listed just above the publication section of the CV,
15 Damages. Is that a published article?                             15 The Emergence of the Reasonable Value Approach. That's
16      A    The Ohio one might be a published article.              16 a 2019 presentation.
17 This one right here may also be. I'm not certain. I               17          Is that right?
18 don't remember. I would have to go look.                          18      A    Yes, it's a presentation.
19          This may have been published on my website               19      Q    Authored by you?
20 at some point. It may not be now. Or it may be                    20      A    Authored by me and the members of the
21 published on other sites. My belief is that it's                  21 panel.
                                                           Page 23                                                                Page 25
 1 potentially a blog article -- website blog article.                1      Q    I see. You were a panel?
 2 And that's all I remember at this point.                           2      A    Correct.
 3      Q    Do you have copies of these articles?                    3      Q    Was that just a discussion? Or were there
 4      A    I may have a copy of these articles. In                  4 written materials that you and the members of the panel
 5 fact, they generally sit in some file. I would have to             5 produced?
 6 look for the older ones. I don't recall again about                6      A    There is a written discussion a part of
 7 the collateral source rule, the last one we mentioned.             7 that.
 8 That may be at a -- that may be published. I forget                8      Q    Is the subject matter of that document
 9 with whom though.                                                  9 relevant to the subject matter on which you're giving
10      Q    If it were published, where would it be                 10 opinions in this case?
11 published?                                                        11      A    Yes.
12      A    One of them I know for certain is published             12      Q    Do you have a copy of it?
13 with the American Bar Association and in particular               13      A    In my files, yes.
14 with the employee benefits section. I'm not sure which            14      Q    Would you please provide that to the
15 one.                                                              15 counsel for the United States?
16          And the other is published with a state law              16      A    Okay. If it's permitted. I think I would
17 publication or something along those lines. I'm just              17 have to ask.
18 not certain.                                                      18      Q    Permitted by whom?
19          MR. MOORE: Shannon, would you -- does the                19      A    I believe -- since it was prepared by a
20 United States agree to make a search for those                    20 number of -- by a group of individuals on the panel and
21 publications listed in the CV and provide copies?                 21 that the material was specifically for the -- that sort

                                                                                                               7 (Pages 22 - 25)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 9 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 26                                                              Page 28
 1 of discussion, that conference, there was some                     1 I think is improperly labeled CLM -- the bottom line is
 2 limitation in terms of who could have it and where it              2 this. The presentation and the written document are
 3 could go. I would probably have to get permission                  3 sort of a compilation of several different persons'
 4 first from the other panelists.                                    4 opinions, meaning it's not just one person who is
 5      Q      Well, you understand that it's been                    5 involved. And the organization that we presented to --
 6 requested in discovery in a piece of federal                       6 which was in, I believe, New York at the time -- asked
 7 litigation. That would override any private agreement              7 that none of the information necessarily go out without
 8 you may have not to share it.                                      8 them getting it out to other individuals first, or at
 9      A      I'm not being obtuse here. I simply don't              9 least within their organization. So I get that part,
10 know.                                                             10 and I understand what you're saying here.
11          MR. MOORE: Shannon, on the record, we're                 11          I guess my concern is that I'm not certain
12 requesting copies of both of the presentations that are           12 that the other panelists want their sections of the
13 listed here in the CV. I think they're within the                 13 document revealed when the only thing that seems to be
14 scope of the notice and document request that's                   14 of importance is the small section that I discussed.
15 included within the notice. So they have been                     15          MS. STATKUS: I agree, Leighton, that --
16 requested. And we would like to have copies of those.             16 right here we're only talking about Mr. Dawson's
17          We lost Shannon. This might be a good time               17 portion of that panel, correct?
18 for a break.                                                      18          MR. MOORE: Well, I don't know. I haven't
19          Off the record.                                          19 seen the document. It might be that the other parts
20          (There was a break in the proceedings.)                  20 are necessary in order to understand his in its proper
21          MR. MOORE: Shannon, I'm not sure what part               21 context. Without seeing -- I think discovery under the
                                                           Page 27                                                              Page 29
 1 of the last exchange you heard, but there are two items            1 federal rules goes to documents, not just parts of
 2 listed under presentation, CLE courses, and                        2 documents. So we're certainly not waiving our right to
 3 professional development events on Mr. Dawson's updated            3 have the whole thing. It may be that the only relevant
 4 CV.                                                                4 part of the document is the part that Mr. Dawson is
 5          MS. STATKUS: Sure.                                        5 referring to. But I can't agree to that in advance
 6          MR. MOORE: I believe those are within the                 6 without having seen it.
 7 scope of what we've requested.                                     7          MS. STATKUS: Sure. I mean, I guess at
 8          MS. STATKUS: I was on the call for that.                  8 this point, we certainly haven't even seen the document
 9 And I did say, you know, to the extent that they are               9 or the presentation that we're talking about. All I
10 available and Mr. Dawson has them and that they are               10 can tell you is I'll certainly make a good-faith effort
11 able to be produced, we'll certainly do that. I just              11 to investigate it and turn over what is applicable.
12 have to -- you know, after the deposition I'll follow             12          And if there is an issue that comes up, I
13 up on that and certainly let you know as soon as                  13 think we would be agreeable to discuss it if it
14 possible.                                                         14 involves other people's work as opposed to just
15          MR. MOORE: I appreciate that.                            15 Mr. Dawson.
16          THE WITNESS: Can I ask a question?                       16          Is that agreeable?
17          MS. STATKUS: Sure.                                       17          MR. MOORE: Let's agree to table that issue
18          THE WITNESS: My only concern about -- and                18 until you've seen the document.
19 the reason I'm hesitant -- I'm actually not hesitant --           19          MS. STATKUS: Yes.
20 is that the -- one presentation related to the                    20          MR. MOORE: Then we can confer about
21 emergence of the reasonable value approach here, which            21 whatever is left.

                                                                                                                8 (Pages 26 - 29)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 10 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                             Page 30                                                                Page 32
 1          MS. STATKUS: Certainly. I think that's                      1         Q    Mr. Dawson, Ms. Statkus produced some
 2 fair.                                                                2 documents this morning -- first of all, can you tell me
 3      Q    Just so the record is clear, Mr. Dawson,                   3 if you recognize that document?
 4 you also have a copy of the DRI presentation.                        4         A    Yes, I do.
 5          Is that right?                                              5         Q    Is that the Notice of Deposition pursuant
 6      A    The DRI presentation? That is a slide                      6 to which you've prepared for your deposition today?
 7 presentation. So yes.                                                7         A    Yes.
 8      Q    And if you would, please provide that to                   8         Q    And you also received the Notice to Produce
 9 Ms. Statkus so she can review it.                                    9 Documents that's attached to the Notice of Deposition?
10      A    Yes.                                                      10         A    Correct.
11      Q    Thank you. I think we are done with the CV                11         Q    So Ms. Statkus has produced --
12 for the moment.                                                     12             MR. MOORE: Shannon, I think it's six
13          Mr. Dawson, what did you do to prepare for                 13 documents this morning? I'll read off the list.
14 your deposition today?                                              14             MS. STATKUS: Yes, it is. It's six
15      A    In this particular case, I reviewed the                   15 documents including the --
16 types of files that were involved in the case. I                    16             MR. MOORE: Let me start over.
17 reviewed some of the depositions, primarily the                     17             Shannon, let me know if this is an accurate
18 life-care plans. Certainly I reviewed, again, the                   18 list.
19 report that I prepared -- or the reports that have been             19             There is the Notice of Deposition, which
20 prepared. I've also reviewed a number of pieces of --               20 has been marked as Exhibit 2. There is a list of
21 some of the things the are in the footnotes, the                    21 testimony of Mr. Dawson. There is a set of invoices to
                                                             Page 31                                                                Page 33
 1 primary document you have today, meaning the analysis                1 the government from TD&P in this case. There is an
 2 or rather the report.                                                2 updated CV, which we've already discussed. There is
 3      Q    Could you be a little more specific about                  3 the United States objection to the Notice to Produce.
 4 what you reviewed?                                                   4 And there is a three-page document regarding TD&P
 5      A    I reviewed the report. I reviewed                          5 Consulting's medical damages analysis services.
 6 appendices. I reviewed the life-care plans, I reviewed               6             MS. STATKUS: Correct.
 7 the depositions, not all of them but the -- sort of the              7             MR. MOORE: And then I also have the expert
 8 more important -- or rather the depositions that speak               8 report that are was already filed in the case. And
 9 to the care of Mr. Willis. I reviewed your notice.                   9 then more recently, the United States has produced
10 And I reviewed the -- I believe you also provided, sort             10 another expert report.
11 of, a notice of reasons to exclude me or something                  11             Shannon, does that sound like an accurate
12 along those lines.                                                  12 list of the documents that the government has produced
13      Q    A motion to exclude your testimony?                       13 that are responsive to the notice?
14      A    I think it may have been something like                   14             MS. STATKUS: Yes, it does.
15 that. Yes.                                                          15         Q    Other than those documents, Mr. Dawson, do
16      Q    Anything else?                                            16 you have any other documents that you're producing
17      A    Not that I can recall. I usually recall as                17 today in response to the notice?
18 I go along in conversation. Something may trigger in                18         A    I may have another document. As a matter
19 my mind.                                                            19 of fact, I do. The document is a listing -- that I
20            (Dawson Deposition Exhibit 2 was marked                  20 keep -- because I can't remember -- of the percentage
21 for purposes of identification.)                                    21 of persons or individuals who take up different kinds

                                                                                                                   9 (Pages 30 - 33)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 11 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 34                                                               Page 36
 1 of -- percentage of payers in the Georgia marketplace              1 and go ahead and get that information?
 2 by payer type.                                                     2      Q    If you would like to take a break, we can
 3      Q     Okay. How is that done --                               3 take a break now. I mean, I --
 4      A     I'm sorry?                                              4      A    I can wait.
 5      Q     How is that document relevant to your                   5      Q    At a break, why don't you just send it over
 6 opinions and your reports in this case?                            6 to Ms. Statkus and she can take a look at it.
 7      A     That document gives me a description of the             7      A    Okay.
 8 purchasers in the Georgia pool of individuals who                  8      Q    I'm not sure we're going to be able to use
 9 purchase healthcare or take up healthcare -- the right             9 it in today's deposition, but it sounds like we may
10 word is not purchase but take up healthcare. In all               10 have to reopen this deposition anyway.
11 cases, individuals don't necessarily purchase out of              11      A    Okay.
12 pocket. There are different ways that it occurs.                  12      Q    Any other documents that you have that are
13      Q     And so how is that used in formulating your            13 responsive to the notice that have not been produced?
14 opinions in this case?                                            14      A    No.
15      A     It gives me an opportunity to weight the               15      Q    Let's talk a little bit about your prior
16 value -- or rather the different kinds of costs                   16 testimony as an expert.
17 experienced by individuals purchasing coverage in the             17          Have you ever testified as an expert at
18 market -- or rather taking up coverage in the market in           18 trial in any court in the State of Georgia?
19 Georgia.                                                          19      A    No.
20      Q     And do you use those weightings to generate            20      Q    Have you ever testified as an expert at
21 a weighted average cost --                                        21 trial in any federal court anywhere in the country?
                                                           Page 35                                                               Page 37
 1      A     It gives me an --                                       1      A    No, not to my knowledge.
 2      Q     Do you use those -- you can go ahead. It's              2      Q    Have you ever been retained by a plaintiff
 3 hard because we don't have any visual cues. So when I              3 in a case involving a claim for future medical costs?
 4 pause, you might think I'm done. You can go ahead.                 4      A    Yes.
 5 I'll just take it as a continuation of your previous               5      Q    Which case? Actually, this might be a
 6 answer.                                                            6 little easier if we mark the testimony list as Exhibit
 7      A     It gives me an opportunity to determine                 7 3 now.
 8 what the reasonable value of the items in the                      8          MR. MOORE: Let's take a five-minute break.
 9 marketplace or goods and services in the marketplace               9          (There was a break in the proceedings.)
10 might be given, sort of, the life-care plans I've been            10            (Dawson Deposition Exhibit 3 was marked
11 presented with.                                                   11 for purposes of identification.)
12      Q     Okay. We are going to need that document.              12      Q    Mr. Dawson, would you take a look at what's
13          In addition, are there -- other than the                 13 been marked as Exhibit 3?
14 publications and presentations that are listed on your            14      A    Yes.
15 CV, do you have other publications or presentations               15      Q    Tell me what that document is.
16 that are not listed on your CV?                                   16      A    This is a list of the cases that I have
17      A     Not that I can recall.                                 17 been involved in -- or rather deposed in or in trial.
18      Q     Well, will you please provide the document             18      Q    Cases -- are there cases in which you have
19 regarding Georgia payors that you mentioned to                    19 been retained as an expert witness that are not listed
20 Ms. Statkus?                                                      20 here?
21      A     Would you like me to take a minute break               21      A    Yes. Or retained in to provide services in

                                                                                                               10 (Pages 34 - 37)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 12 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 38                                                                Page 40
 1 general. Yes.                                                      1      A    No.
 2      Q      As part of your litigation-support                     2      Q    Is it more than five?
 3 function?                                                          3      A    Yes.
 4      A      Right.                                                 4      Q    Is it more than 100?
 5            I'm looking at the Montana 8th Judicial                 5      A    Yes.
 6 District Court.                                                    6      Q    Is it more than 200?
 7      Q      In what context?                                       7      A    I don't know beyond that point.
 8      A      That was a trial that I happened to be                 8      Q    Do you have business records from which you
 9 associated with.                                                   9 could determine the answer to that question?
10      Q      So that's not responsive to my question,              10      A    Yes.
11 right?                                                            11      Q    Would you please find that out the next
12      A      No. I'm talking out loud. I apologize.                12 time we take a break?
13      Q      That's all right. I just wanted to make               13      A    Yes.
14 sure.                                                             14          I don't think we distinguish between those
15            So I had asked about cases in which you                15 cases that we have -- that I've testified in and those
16 were retained that are not listed here. How many?                 16 cases that I have just been retained in only. So you
17      A      I don't know.                                         17 may get a number that includes the total.
18      Q      In how many cases have you been retained              18      Q    If you can give me a total number of cases
19 but those cases are not listed on your testimony list? 19 in which you have been retained as an expert witness,
20      A      That I've been retained to work with in a             20 then I can subtract the number of cases on the
21 litigation-support or a consulting role?                          21 testimony list from that number, and that will give me
                                                           Page 39                                                                Page 41
 1      Q     Yes -- well, in which you've been retained              1 the other number, right?
 2 as an expert witness but you did not testify -- let me             2      A    Correct.
 3 ask the question this way.                                         3      Q    Okay. So of the cases on this testimony
 4          Is this a complete list of all the cases in               4 list, have you ever testified for a plaintiff in a case
 5 which you've testified as an expert witness?                       5 involving a claim for future medical costs?
 6      A     Yes. This would be a complete list of all               6      A    No.
 7 of the cases I've testified in as an expert witness.               7      Q    But I believe you said you have been
 8 Correct.                                                           8 retained by a plaintiff in a case involving a claim for
 9      Q     And then -- and the last case on the list               9 future medical costs.
10 is Stilverio versus Ford Motor Company.                           10          Is that correct?
11          Is that right?                                           11      A    Correct.
12      A     Yes.                                                   12      Q    Do you remember where that case was?
13      Q     And the first case on the list is Rowles               13      A    Not off the top of my head. Although I can
14 versus Christiana Care Home Services?                             14 and I am currently gathering that information for you.
15      A     Correct.                                               15 I believe it's more than one case. I'm not sure how
16      Q     So I think we have the same list.                      16 many. And I'm not sure how many happened to be merely
17          So in how many cases have you been retained              17 just consulting.
18 as an expert witness but not testified?                           18      Q    Have you ever been excluded from testifying
19      A     I don't have that exact number in my mind.             19 as an expert?
20 I don't have it off the top of my head.                           20      A    I've never been excluded from testifying on
21      Q     Do you have a rough number?                            21 the question of reasonable value in any case.

                                                                                                              11 (Pages 38 - 41)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 13 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                          Page 42                                                             Page 44
 1          I have been limited in my testimony to only              1 this document?
 2 speak about reasonable value.                                     2      A    The Census Bureau. It's actually listed in
 3          And I have been excluded from testifying in              3 our report. We identify where we get our data from.
 4 a case on the grounds -- actually cases on the grounds            4 But it's the Census Bureau, particularly the MEPS
 5 that the Affordable Care Act is speculative.                      5 Survey, the Medical Expenditure Panel Survey.
 6          Beyond that, I have not been excluded for                6      Q    And is this line for Georgia that you've
 7 any other reason.                                                 7 provided part of a larger document?
 8      Q    In how many cases have you been excluded                8      A    Well, yes. It's a part of a larger census
 9 from testifying on any subject?                                   9 databank, if that's what you're asking.
10      A    I would need to go gather that information             10      Q    Yeah. So is this a line from a spreadsheet
11 up, and I can do so on break.                                    11 basically?
12      Q    Is it more than five?                                  12      A    It's a line -- we created this particular
13      A    I don't know. I would have to actually go              13 image that you're seeing. But the data is taken from
14 and look to see what cases I've been excluded from               14 the Census Bureau.
15 testifying and for what reason.                                  15      Q    But I mean this line for Georgia -- I mean
16      Q    I'll tell you what. Let's take a break and             16 I'm asking a really simple question. When you walked
17 let you go get that information and the information              17 out of the room to go get this, what type of repository
18 about your other retentions.                                     18 or document did you get it from?
19          And on break, while we do that -- it looks              19      A    We created it. It's just a simple Excel.
20 like the document you sent me with the Georgia                   20 You create a simple -- I'm sorry. I'm laughing. You
21 percentages is -- that looks to be --                            21 create an Excel column, and you plug in the information
                                                          Page 43                                                             Page 45
 1          MR. MOORE: Madam court reporter, would you               1 very quickly. It's not hard to do.
 2 label that as 4.                                                  2      Q    So you created this today?
 3            (Dawson Deposition Exhibit 4 was marked                3      A    Yes.
 4 for purposes of identification.)                                  4      Q    From what? Did you go directly to the
 5      Q    Can you tell me, Mr. Dawson, what this                  5 Census Bureau data?
 6 document is?                                                      6      A    We already had the data as a part of our
 7      A    Well, this document represents sort of a                7 calculations. So I'm not understanding what more
 8 shorthand version of the percentages of individuals who           8 you're asking me to say about it other than it was
 9 took up coverage through different financing vehicles.            9 drawn from the --
10          So the straight English way of saying it is             10      Q    I think that's why you thought you thought
11 49 percent of the people purchased care through their            11 it was funny because you don't understand my question.
12 employer. 7 percent of the people in Georgia purchased           12          My question is, you brought me a document
13 care in the individual market. 17 percent of the                 13 in response to my Notice to Produce Documents. You
14 people purchased care through, I guess, Medicaid, 12             14 brought it today into your deposition room. And my
15 percent through Medicare, 2 percent through other                15 notice was served a couple days ago. And I'm wondering
16 public, which is actually the Veterans Administration            16 what document existed a couple days ago that it was
17 and the Indian Health Service to the extent that they            17 apart of. Because this document doesn't look like a
18 are members of it. Then 13 percent of the population             18 complete document to me. And I want the rest of the
19 purchased coverage or care out of their own pockets or           19 document.
20 what we would call uninsured individuals.                        20      A    I don't think I can give you the rest of
21      Q    Okay. What is the source of the data in                21 any document. To be honest with you, what you have in

                                                                                                              12 (Pages 42 - 45)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 14 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                            Page 46                                                              Page 48
 1 front of you, if you were referring to the actual                   1 report in their document, they're provide exactly what
 2 report with the appendices, essentially contains that.              2 you're asking for that looks exactly like what I'm
 3 And our footnotes certainly point to the Census Bureau.             3 pointing to. And that's where we pull the information.
 4 So if you -- and the MEPS surveys and the like.                     4 That's the document we use.
 5          So if you were to go there yourself, you                   5      Q    So is that the document that you referred
 6 would do exactly what I did in expectation at being at              6 to a moment ago, the Georgia State survey -- I don't
 7 this hearing -- or being at this deposition and merely              7 remember the long name of it?
 8 pull the information out. It's kind of a cut and                    8      A    Well, I wasn't giving you the exact name.
 9 paste.                                                              9 The Census Bureau provides a state analysis of home --
10      Q    So a document under the federal rules                    10 medical home survey of what people -- how people
11 includes a collection of electronically stored                     11 receive their healthcare. That's -- and they provide
12 information. It doesn't just include things that are               12 the data exactly as I've cut out here. But I'm happy
13 printed out on a piece of paper or that are formatted              13 to give you the entire document so that you can look
14 for printing out on a piece of paper.                              14 specifically at Georgia and see that information.
15      A    You can cut this --                                      15      Q    That's fine.
16      Q    So if you have a spreadsheet or a database               16      A    Is that what you want, sir?
17 that contains this among other information and you                 17      Q    Well, I want what you relied on. If that's
18 relied on that spreadsheet or database in formulating              18 what you relied on, please send it to Ms. Statkus.
19 your opinions in this case, I'm entitled to have that.             19      A    I'll do that now. I'll take a break and
20 That's what I'm looking for.                                       20 make sure that's done.
21      A    Well, I'm happy to send you the Census                   21          (There was a break in the proceedings.)
                                                            Page 47                                                              Page 49
 1 Bureau report that contains the spreadsheet that                    1      Q    So go ahead.
 2 contains this exact chart.                                          2      A    So there are essentially two files that the
 3          Would you like me to do that?                              3 Census Bureau files that we rely on. One is the
 4      Q    Great. Yes. If you would, send that to                    4 American Community Survey, which is how the Census
 5 Ms. Statkus.                                                        5 Bureau compiles everything. And it -- a lot of data, a
 6      A    I will send you the Georgia State Census                  6 lot of Excel sheets. So we have to put in the right
 7 Bureau Health Insurance Chart. I will get that and                  7 parameters to print the information out. Period. And
 8 download it off of the -- from the Census Bureau and                8 they're huge Excel sheets --
 9 send it to you.                                                     9      Q    Let me stop you there. I don't need you to
10      Q    Well, here is the thing. What I'm                        10 print anything out. That was why I wanted the court
11 requesting are documents in your possession and control            11 reporter to get you. I wanted to make sure you weren't
12 that you relied on in forming your opinion.                        12 doing that. I'm not going to be able to digest a big
13          So is there a document that is in your                    13 census document quickly enough to ask you questions
14 possession and control at TD&P that contains this                  14 about it today and use it an as exhibit in your
15 information that you used in formulating your opinion?             15 deposition.
16 That's the document that I need.                                   16          I just want it to be sent electronically to
17      A    That would be the Census Bureau's state                  17 Ms. Statkus. But I do appreciate the effort you're
18 assessment of health insurance. It's called their                  18 making to put it in a form that's usable to a non
19 health insurance panel survey or home health insurance             19 health policy person like myself.
20 panel survey. It's provided through the MEPS survey.               20          As attorneys we do want to avoid document
21 Or it's provided -- if you open up document and the                21 dumps where you get a bunch of stuff that's not

                                                                                                               13 (Pages 46 - 49)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 15 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                            Page 50                                                               Page 52
 1 relevant to the case.                                               1          MR. MOORE: Thanks.
 2          So is there a portion of that report that                  2      Q    I saw from your testimony list, Mr. Dawson,
 3 can be separated out electronically and sent to                     3 that you've testified as an expert in two post-trial
 4 Ms. Statkus that contains all the relevant information              4 collateral source hearings in the State of New York.
 5 that you relied on for your opinions in this case?                  5          Is that right?
 6      A    Yes. I can make sure that's done. We                      6      A    Correct.
 7 can -- we've pulled it out halfway. We just need to                 7      Q    What is the nature of that proceeding?
 8 support that with the other Excel spreadsheets that the             8      A    A post-trial collateral source hearing -- I
 9 CMS -- the Census Bureau provides. And it is in a                   9 believe it's a 45/45 hearing I believe it's referred
10 format that you might not have the software or                     10 to -- is merely a hearing after the liability has been
11 whatever -- maybe you do. It's just -- yes, you're                 11 determined and I believe some judgment has been arrived
12 right. It needs to be in a simple way.                             12 at regarding the amount of liability that the courts
13      Q    Yeah. I do appreciate the effort you're                  13 make a determination as to how much -- make a
14 making to put it in a form that's usable for me. If                14 determination as to what collateral sources are
15 you can -- if we can just have an agreement that you're            15 available to the individual. And they reduce those
16 doing that and you'll send it to Ms. Statkus                       16 amounts from, I guess, the entire, sort of, explanation
17 electronically, I think we can move on from that.                  17 of total liability in terms of damages.
18      A    Okay.                                                    18      Q    Okay. So it's my understanding that under
19      Q    Thank you.                                               19 New York law the court -- the judge can reduce the
20          During the break, did you happen to check                 20 amount of the plaintiff's award if the court finds that
21 on the information about cases where you've been                   21 any part of the economic loss contained in the award
                                                            Page 51                                                               Page 53
 1 excluded from testifying as an expert?                              1 was or will be replaced, completely or partly, by a
 2      A    Sorry. I'll go get that very quickly.                     2 collateral source of payment.
 3      Q    No. No. Let me try to get through some                    3          Is that your understanding?
 4 more since we're all together.                                      4      A    Yes.
 5      A    Okay.                                                     5      Q    And the reduction is authorized when the
 6      Q    And we can come back to that.                             6 collateral source payment represents reimbursement for
 7      A    Okay.                                                     7 a particular category of loss for which damages were
 8      Q    In fact, it sounds like there's going to be               8 awarded in the verdict, right?
 9 enough here that I'm going to have to reopen this                   9      A    Correct.
10 deposition on a future date. So if you can just                    10      Q    Such as, for example, future medical costs
11 provide that information also -- if we don't get to it             11 that will be reimbursed from some collateral source
12 today, if you could, just provide it to Ms. Statkus and            12 payment?
13 she can provide it to me.                                          13      A    Correct.
14          MS. STATKUS: What information are you                     14      Q    Right?
15 referring to?                                                      15          And the amount of any collateral source
16          MR. MOORE: What I'm saying is the                         16 reduction is determined in a post-trial hearing, right?
17 information about the times that he has been excluded              17      A    Correct.
18 from testifying as an expert. I said if we don't get               18      Q    And that's a hearing without a jury, right?
19 to that today, if he could agree that just provide that            19      A    Correct.
20 information to you and then you could provide it to me.            20      Q    Georgia law doesn't have any procedure like
21          MS. STATKUS: Sure. Okay.                                  21 that, does it?

                                                                                                                14 (Pages 50 - 53)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 16 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                            Page 54                                                              Page 56
 1       A    I'm not a Georgia law expert, but I believe              1 about. So I did not specifically talk about the
 2 no.                                                                 2 reasonable value of items in the market during the
 3       Q    Now, in those hearings, what type of                     3 collateral-source portions of the hearing.
 4 testimony did you give?                                             4           During that portion in which I was called
 5       A    Very similar testimony to the type that                  5 in, I specifically spoke about those items that would
 6 I've given in Alabama where I was in front of a jury.               6 be -- or are considered collateral sources and what
 7       Q    Well, respectfully, that's not really                    7 their value happened to be.
 8 responsive to my question. What type of testimony was               8       Q    I see. So --
 9 that?                                                               9       A    -- was covered, rather.
10       A    I sat on a stand. I was sworn in. And I                 10       Q    -- for example, if the plaintiff would
11 testified as to the types of collateral, I guess,                  11 qualify for Medicaid, would you testify -- did you
12 sources that would be available to the plaintiff in                12 testify in the collateral-source hearings about what
13 that case. And the value of those sources and how                  13 part of the plaintiff's future medical costs Medicaid
14 those amounts were determined, I believe as well.                  14 would cover?
15       Q    Did you use the same methodology to form                15       A    Correct.
16 your opinions in the New York cases that you used to               16       Q    And similarly if the plaintiff qualified
17 form your opinions in this case?                                   17 for Medicare, you would testify in the
18       A    In terms of methodology, I used a                       18 collateral-source hearing about what portion of future
19 comparative pricing analysis. So in that sense -- this             19 medical cost Medicare would cover?
20 is not a yes or a no question. The better way to                   20       A    Correct.
21 describe it is I looked at the market as a whole and               21       Q    And it would be the same with any other
                                                            Page 55                                                              Page 57
 1 looked at the payers in the market to determine to what             1 collateral source such as private health insurance.
 2 extent -- how individuals paid for their care or                    2           Is that right?
 3 coverage or did not pay for their care or coverage in               3       A    Correct.
 4 the marketplace to determine what the value of that                 4       Q    Or veteran's benefits, if that were
 5 care might be.                                                      5 applicable?
 6       Q    So in the New York cases, did you give                   6       A    Correct.
 7 opinions about reasonable value of medical services?                7       Q    Okay.
 8       A    So in the New York cases -- so I don't want              8       A    We now have the document --
 9 to confuse my discussion. Discussions about reasonable              9       Q    We now have which document?
10 value can be had during the trial portion of the case.             10       A    The information that related to the
11 So I offered my opinions in those cases to the                     11 coverage rates that I pointed to earlier that we said
12 attorneys on record and also two other experts who                 12 we would pass on at later time.
13 worked on the case. So they can offer their                        13       Q    How voluminous is the document? How big is
14 understanding of what they believe to be the value of              14 it?
15 the services -- or at least the reasonable value of the            15       A    Maybe ten pages possibly.
16 services. So that can be talked about during trial                 16           Like I said, the goal was to actually get
17 before the jury.                                                   17 it in a form that you could use without it wearing you
18           The collateral sources --                                18 out.
19       Q    In New York?                                            19       Q    I appreciate that.
20       A    In New York.                                            20           Could you have that sent to Ms. Statkus,
21           The collateral sources could not be talked               21 please?

                                                                                                               15 (Pages 54 - 57)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 17 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                            Page 58                                                           Page 60
 1      A     Yes. I think Mr. Johnson may have already                1 created some changes?
 2 done so.                                                            2      A     Correct.
 3          MS. STATKUS: I'll forward it along as soon                 3      Q     Was the same methodology used to produce
 4 as I get it.                                                        4 both reports?
 5                (Dawson Deposition Exhibit 5 was marked              5      A     Yes.
 6 for purposes of identification.)                                    6      Q     Are your opinions in this case limited to
 7      Q     Mr. Dawson, you prepared at least two                    7 those that were in your second written report?
 8 different reports in this case.                                     8      A     Can you restate the question?
 9          Is that right?                                             9      Q     Yeah. Do you have any opinions in this
10      A     Correct.                                                10 case other than those that are set forth in your second
11      Q     Are there two or more than two?                         11 written report?
12      A     Two.                                                    12      A     No additional opinions. No.
13      Q     One of them is dated May, 2018 and the                  13      Q     In your first report -- and that's been
14 other is dated May, 2019.                                          14 labeled as Exhibit 5.
15          Is that right?                                            15           Is that correct?
16      A     Correct.                                                16      A     Correct.
17      Q     Does the later one replace the earlier one?             17      Q     In your earlier report, you stated that the
18      A     Yes.                                                    18 ACA, Obama Care legislation, quote, changed the
19      Q     So is the first one --                                  19 framework for the delivery of healthcare in America,
20          THE WITNESS: Can we take a quick break                    20 end quote.
21 real quick? Two seconds.                                           21           Do you stand by that statement?
                                                            Page 59                                                           Page 61
 1          MR. MOORE: Sure.                                           1      A    Correct. Yes.
 2          (There was a break in the proceedings.)                    2      Q    And it changed that framework in part by
 3      Q     So you said the later report replaces the                3 requiring Americans to obtain health insurance
 4 earlier report?                                                     4 coverage, right?
 5      A     Yes.                                                     5      A    The individual mandate was part of the
 6      Q     Can you give me a high-level summary of the              6 change.
 7 differences between the two reports?                                7      Q    And the individual mandate is the term that
 8      A     Change in the status of the primary                      8 you're using for the provisions of the ACA that require
 9 beneficiary of care. Therefore change in the status of              9 Americans to obtain health insurance coverage, right?
10 Mr. C.W.                                                           10      A    Correct.
11      Q     So when you say change in the status, what              11      Q    And the ACA also changed the framework for
12 do you mean?                                                       12 delivery of healthcare in America by prohibiting
13      A     Change in the program and/or coverage of                13 insurers from denying coverage due to pre-existing
14 the primary beneficiary care. And therefore change in              14 health conditions, right?
15 the program and/or coverage of the -- Mr. C.W.                     15      A    Correct.
16      Q     Okay. Is that the only change between the               16      Q    And that's called the guaranteed-issue
17 two --                                                             17 requirement?
18      A     There are changes in terms of numbers, plan             18      A    Correct.
19 determination, style just simply because the initial               19      Q    Now if these provisions of the ACA were
20 report was given a year prior.                                     20 struck down, that would significantly change the system
21      Q     So the passage -- the interval of time                  21 for delivery of healthcare in America, right?

                                                                                                             16 (Pages 58 - 61)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 18 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 62                                                              Page 64
 1      A    It would -- if those provisions were struck              1 don't know.
 2 down per se, there would be certainly significant                  2      Q    Is there one state in the union that you're
 3 changes to the take up of coverage.                                3 aware of that does not have a guaranteed-issue
 4          However, because of the expansiveness of                  4 requirement under state law?
 5 the law itself, it would be difficult for me to say                5      A    I don't know.
 6 that those two provisions would change the nature or               6      Q    So your opinion is that if the
 7 the kind of care currently being received -- or would              7 guaranteed-issue requirement of the ACA were struck
 8 be received by the plaintiff in this given case.                   8 down or repealed, that would not significantly change
 9      Q    The plaintiff in this case has pre-existing              9 C.W.'s ability to obtain private coverage in the State
10 health conditions, right?                                         10 of Georgia?
11      A    Correct.                                                11      A    Correct.
12      Q    If private insurers were permitted to deny              12      Q    But you don't know whether it would affect
13 coverage due to pre-existing health conditions, that              13 his ability to obtain private coverage if his family
14 would take make it substantially more difficult, if not           14 didn't live in Georgia?
15 impossible, for him to obtain private health insurance,           15      A    No, I don't.
16 right?                                                            16      Q    Do you have an opinion about whether the
17      A    Well, with regard to private health                     17 individual mandate and guaranteed-issue provisions of
18 insurance, it would make it difficult for him to obtain           18 the ACA are constitutional?
19 coverage at least for the first eighteen months.                  19      A    No.
20          One of the things that's not widely                      20      Q    Are you aware that the United States has
21 discussed -- well, actually, let's back up a little               21 taken the position that the individual mandate and
                                                           Page 63                                                              Page 65
 1 bit. Georgia adopted, in its own legislation, a                    1 guaranteed-issue provisions of the ACA are
 2 pre-existing condition exclusion provision. And in its             2 unconstitutional?
 3 own state legislation, Georgia prohibits the exclusion             3      A    I aware that a judge, I believe, in the
 4 of individuals because of a pre-existing condition. So             4 fifth circuit of Texas took the position that it is
 5 with regard to Mr. C.W., it is unlikely that he would              5 unconstitutional. I'm also aware that that particular
 6 find it difficult to obtain coverage in the private                6 judge -- I believe his name is Mr. O'Connor -- has also
 7 market in the State of Georgia.                                    7 taken the position, if I recount this correctly, that
 8      Q    Has every state done that?                               8 since the individual -- the elimination of the
 9      A    I have not been asked to opine on every                  9 individual mandate is no longer there it -- and it is
10 state in this case. So I will not.                                10 not severable from the entire Affordable Care Act that
11      Q    Well, you still have to answer the question             11 the Affordable Care Act in and of itself doesn't stand.
12 if you know.                                                      12 So I'm familiar with him taking that position.
13      A    I can't answer the question, because I                  13          I'm also familiar with the position of the
14 don't know.                                                       14 administration of this point. I believe Sessions has
15      Q    You don't know if there are any states that             15 something along the lines to say that he did accept or
16 do not have pre-existing condition -- let me re-ask               16 acknowledge the validity of -- Sessions with the
17 that question.                                                    17 attorney general -- that the administration accepted
18          You don't know if there are any states                   18 the idea that the ACA or -- at least the individual
19 where there is not a state-level guaranteed-issue                 19 mandate was -- that the individual mandate was in and
20 requirement?                                                      20 of itself not constitutional and should be struck down.
21      A    I have not surveyed every state. So I                   21 However, the administration did not believe beyond

                                                                                                              17 (Pages 62 - 65)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 19 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 66                                                               Page 68
 1 that -- or maybe that the other pieces of the law were             1 that it has been stayed by Justice O'Connor. Nothing
 2 necessarily not severable from -- the good parts, the              2 is happening on it. Things continue as they continue
 3 parts that the administration liked, are not severable.            3 for the moment.
 4          So to identify what the administration                    4             (Dawson Deposition Exhibit 6 was marked
 5 really ended up saying was that they liked the                     5 for purposes of identification.)
 6 provisions that guaranteed 26-year-olds coverage with              6      Q     And my question is not whether you
 7 their parents. They liked the provisions that                      7 understand that the courts have ruled the ACA to be
 8 guaranteed coverage to -- access to coverage for                   8 unconstitutional -- maybe it would be easier with an
 9 individuals who wanted to have care. They liked the                9 exhibit.
10 coal miner provisions in it that provided extended care           10           Mr. Dawson, have you ever seen this
11 there. They like the donut hole for -- you know, the              11 document, Exhibit 6?
12 ACA filled that donut hole that existed for the                   12      A     I've seen this. Yes. I mean not in its
13 prescription drug care. They like that provision.                 13 current form, but I've seen it. Yes.
14 They liked the -- and anyway the list kind of goes on.            14      Q     What do you mean not in its current form?
15          So in terms of there being a question about              15      A     Well, I had seen this document in the form
16 severability, again, the courts are sort of out on                16 presented by the courts.
17 that. It's not weighed favorably -- at least a                    17      Q     I'll represent to you that this brief was
18 decision has not weighed favorably in many persons'               18 downloaded from the document the court. I'm not sure
19 minds about whether or not it's an accurate description           19 what other version of it you're referring to.
20 about whether or not the ACA is constitutional or not.            20      A     Well, I'm not upset about it. I'm not
21          I believe personally that the decision is a              21 disagreeing with you. It didn't have -- yes.
                                                           Page 67                                                               Page 69
 1 little flawed in terms of the analysis, just from a                1      Q     What was different about the version you
 2 legal perspective. But I'm not a lawyer -- I'm not                 2 saw?
 3 here to be a lawyer in this particular case. So there              3      A     It didn't have the tiny writing at the top
 4 you go. And I'll leave it at that.                                 4 that I'm seeing here. That's it. That's all I'm
 5      Q    Well, respectfully, most of that is                      5 saying.
 6 nonresponsive to the question I asked.                             6      Q     Okay. Yeah. The information in the line
 7          My question was, are you aware that the                   7 at the very top of each page is from the Pacer system.
 8 United States has taken the position that the                      8 That's the electronic filing system.
 9 individual mandate and guaranteed-issue provisions of              9           But the substance of the document, other
10 the ACA are unconstitutional and should be struck down?           10 than that, you've seen?
11          MS. STATKUS: Object to form.                             11      A     Correct.
12          THE WITNESS: So I am aware, as I described               12      Q     And if you'll look in the table of contents
13 initially, that a particular circuit has taken the                13 under the heading arguments -- and this will be on page
14 position, a judge, that it is. But that there is                  14 4 of the actual document. Big Roman II is the argument
15 significant disagreement around the country. And I'm              15 heading. And it reads, the individual mandate is
16 also aware that a motion -- or rather a counter suit of           16 unconstitutional because Congress eliminated the tax
17 sorts was submitted to the Maryland Circuit which I'm             17 penalty on which the Supreme Court's savings
18 not sure -- one of those had standing and the other one           18 construction rested.
19 did not -- regarding that issue.                                  19           Do you see that?
20          So I believe the issue is out. It has not                20      A     Yes.
21 been heard before the Supreme Court. I also believe               21      Q     And then bit Roman numeral III reads, the

                                                                                                               18 (Pages 66 - 69)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 20 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 70                                                              Page 72
 1 individual mandate is not severable from the guaranteed            1           MR. MOORE: And so are you also not going
 2 issue and community rating provisions. And the rest of             2 to tell me if -- just for the record, if it's the
 3 the ACA is not severable in turn.                                  3 United States' position in this case that the
 4          Do you see that?                                          4 guaranteed-issue provision of the ACA is constitutional
 5      A    Yes.                                                     5 or unconstitutional?
 6      Q    Do you understand this to mean that the                  6           MS. STATKUS: Correct. I'm not going to
 7 United States Department of Justice has taken the                  7 discuss that at the deposition either.
 8 position, in this litigation, that the ACA as a whole              8      Q     Mr. Dawson, have you read the document that
 9 is unconstitutional and should be struck down?                     9 is labeled as Exhibit 6?
10      A    No. No. That's not what -- no. That is                  10      A     Portions of it.
11 absolutely not what Sessions as the attorney general              11      Q     Which portions?
12 said when responding to this, and certainly not what              12      A     I believe it's the section that says the
13 the president said. So no.                                        13 rest of the ACA's provision are inseverable. Sort of
14      Q    You understand that Mr. Sessions is no                  14 the recounting of section two; the Tax Cut and Jobs
15 longer the attorney general, right?                               15 Act, just portions of that; the Supreme Court position,
16      A    I understand that he's no longer the                    16 I've read portions of that; and I think that's
17 attorney general.                                                 17 basically it.
18          MS. STATKUS: Object to form.                             18      Q     The next thing I would like to do is to go
19      Q    What do you understand the substance of                 19 through the second report. Do we have that printed
20 this brief that's been labeled Exhibit 6 to be?                   20 yet?
21      A    A political document.                                   21           MS. STATKUS: I sent it to Mr. Johnson and
                                                           Page 71                                                              Page 73
 1      Q    Maybe I'll direct these questions to                     1 Mr. Dawson and asked them to please print it out. I
 2 Shannon.                                                           2 just got it. So I just sent it a couple minutes ago.
 3          MR. MOORE: Shannon, is it the position of                 3 It should be available.
 4 the United States in this case that the individual                 4           MR. MOORE: Okay.
 5 mandate provision of the ACA is constitutional or                  5      Q     Mr. Dawson, could you mind if we took a
 6 unconstitutional?                                                  6 break so that you could check and see if that is ready?
 7          MR. TAYLOR: Object to form.                               7      A     Okay.
 8          MS. STATKUS: That's completely                            8           (There was a break in the proceedings.)
 9 inappropriate and I object to the form as well.                    9              (Dawson Deposition Exhibit 7 was marked
10          MR. MOORE: I'm entitled to know. Because                 10 for purposes of identification.)
11 Mr. Dawson's opinion in the case are based on the                 11      Q     So let's go over your latest written
12 viability of the ACA.                                             12 report, which has been labeled, I believe, Exhibit 7.
13          And the United States can't take opposite                13           Mr. Dawson, is the document that's been
14 positions in two different pieces of litigation. So               14 labeled as Exhibit 7 your operative expert report in
15 I'm entitled to know.                                             15 this case?
16          MS. STATKUS: We're not discussing a legal                16      A     Correct.
17 opinion in the deposition right now. You're entitled              17      Q     Let's look at the executive summary on page
18 to ask him about his bases for the ACA and how he uses            18 2. Does this contain -- does this executive summary
19 that in his report. But I'm not going to discuss the              19 contain a summary of all of your opinions in this case?
20 United States' position on the ACA during Mr. Dawson's            20      A     Yes.
21 deposition.                                                       21      Q     So if I understand it, you've done an

                                                                                                                19 (Pages 70 - 73)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 21 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                          Page 74                                                             Page 76
 1 analysis of coverage under various public benefits                1 the State of Georgia.
 2 programs and/or private insurance that would be                   2      Q    Mr. Dawson, in order to have a clear
 3 available to Mr. Willis under the current provisions of           3 record, the convention is that when an attorney in a
 4 law and regulation that govern those programs.                    4 deposition asks you a yes or no question you are to
 5          Is that right?                                           5 answer it yes or no if it can be answered that way at
 6      A    Well, it's -- that would include both in                6 all. And then you can explain your answer. The
 7 and outside of the insurance context.                             7 question that I asked you I think can be answered yes
 8      Q    Tell me what you mean by that.                          8 or no.
 9      A    With and without insurance.                             9          Did you do an analysis of Mr. Willis'
10      Q    So you've done an analysis of his coverage             10 future medical costs and coverage for those costs if he
11 with insurance and his coverage without insurance?               11 were to move outside the State of Georgia? I think the
12      A    Well, a more appropriate statement I guess             12 answer is no.
13 would be I have done an analysis based on the different          13          Am I right?
14 types of decisions that Mr. Willis is permitted to make          14      A    Correct.
15 in the current marketplace.                                      15      Q    And then in the third paragraph after the
16      Q    Okay. Permitted by what?                               16 number of lists of your executive summary, you have
17      A    Permitted under the law.                               17 what I take to be a criticism of the report prepared by
18      Q    So have you done an analysis of what his               18 plaintiff life-care planner, Ms. Barrons.
19 future medical costs would be if he moved outside the            19          Is that right? Do you see what I'm talking
20 State of Georgia?                                                20 about?
21      A    No need to do that. You're talking about               21      A    Yes.
                                                          Page 75                                                             Page 77
 1 his medical decisions. I'm talking about his medical              1      Q    And I take the substance of that criticism
 2 decisions in his current lotion. If I were to make a              2 to be that Ms. Barrons, you claim, calculated C.W.'s
 3 decision about him making decisions about where he                3 future medical expenses incorrectly because she did not
 4 happened to be in the future in terms of residence,               4 reduce those future medical expenses based on potential
 5 then that would mean me looking back at where he's                5 coverage under public benefit programs or health
 6 been, which to my knowledge he hasn't been anywhere but           6 insurance.
 7 Georgia, and then making some sort of future                      7          Is that right?
 8 determination as to where he might go, which is still             8      A    I don't think that was what I said.
 9 the State of Georgia.                                             9          I think I said that she did not calculate
10      Q    You can't predict where he might go, can               10 what his future coverage would be based on the
11 you?                                                             11 different decisions that the plaintiff could make.
12      A    Not based on his past.                                 12      Q    Okay. The fourth paragraph here, does that
13          MS. STATKUS: Object to form.                            13 state an opinion regarding the reasonable value of
14          THE WITNESS: Not based on his past                      14 healthcare items contained in C.W.'s life-care plan?
15 behavior, no.                                                    15      A    Correct.
16      Q    So is the yes or no answer to my question,             16      Q    And is it your opinion that Ms. Barron's
17 no, you did not do an analysis of his future medical             17 report over estimates the reasonable value?
18 costs and coverage if he moved outside the State of              18      A    Correct.
19 Georgia?                                                         19          It doesn't reflect the reasonable value in
20      A    What I prepared was a valuation of his                 20 the market.
21 future medical costs and services based on him being in          21      Q    And have we just been through, at a high

                                                                                                             20 (Pages 74 - 77)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 22 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 78                                                             Page 80
 1 level, all the opinions you're going to offer in this              1      A    Correct.
 2 case?                                                              2      Q    Is that right?
 3      A    Correct.                                                 3      A    Yes.
 4      Q    So there are basically, I think, two                     4          And that very same provision is in the
 5 buckets that your opinions fall into. One relates to               5 Georgia law as well.
 6 collateral sources of payment for future medical costs.            6      Q    Do you know why Georgia has that provision
 7 And the other relates to reasonable value of future                7 in its regulations?
 8 medical costs.                                                     8      A    No.
 9          Is that right?                                            9      Q    Do you know how long Georgia has had that
10      A    Correct.                                                10 provision in its regulations?
11      Q    Let's turn to page 4, healthcare summary.               11      A    No.
12 How does this figure into your opinions?                          12      Q    Do you know if it's related at all to the
13      A    It's merely a standard recounting that I                13 passage of the ACA?
14 provide of the case.                                              14      A    No.
15      Q    So you didn't -- is this -- is it fair to               15      Q    No, you don't know?
16 say this is a factual assumption that underlies your              16      A    No.
17 opinions rather than a finding that you made?                     17      Q    I'm sorry. The no is still, I think, a
18      A    Correct.                                                18 little ambiguous in that answer. When you say "no," do
19      Q    So you didn't -- your opinions don't                    19 you mean you don't know the origin of that Georgia
20 encompass C.W.'s medical needs as such?                           20 regulation?
21      A    We make no determinations as to his medical             21      A    No, I don't.
                                                           Page 79                                                             Page 81
 1 needs. As a matter of fact, all of the assumptions in              1      Q    Let's look at page 6. This is part three,
 2 the life-care plans are assumed to be medically                    2 determination of disability. Is the determination of
 3 necessary.                                                         3 disability relevant to your conclusions regarding
 4      Q    But when you say "life-care plans," plural,              4 C.W.'s future medical costs?
 5 you mean also Ms. Ridick Grisham's life-care plan?                 5      A    Yes.
 6      A    Any one that we're given, we start with the              6      Q    In what way?
 7 assumption that it's medically necessary.                          7      A    Well, two ways. There has to be a
 8      Q    Let's look at page 5, access to coverage.                8 determination of disability at the level with regard to
 9 Does this section also state assumptions that underlie             9 Georgia and it -- with regard to Georgia law. There
10 your opinions?                                                    10 also to be a determination with regard to the federal
11      A    Yes. That's in my conclusion.                           11 government in terms of definitions so that C.W. may
12      Q    And your conclusion is that the Affordable              12 have access to other kinds of care and/or collateral
13 Care Act requires Mr. Willis -- C.W. to maintain                  13 sources in the future.
14 minimum essential coverage, right?                                14      Q    So that is relevant?
15      A    Correct.                                                15      A    Again, it places him in a specific special
16      Q    That's one of your conclusions?                         16 category based on that disability that makes available
17      A    Uh-huh.                                                 17 to him, independent of his resources, particular kinds
18      Q    And another conclusion is that the                      18 of care that he needs based on his physical status.
19 guaranteed-issue requirement in the ACA ensures that              19      Q    The determination of disability then is
20 Mr. Willis will continue to have access to healthcare             20 relevant to your opinions regarding -- in the first
21 coverage in the future?                                           21 bucket regarding collateral sources of payment and

                                                                                                              21 (Pages 78 - 81)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 23 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 82                                                               Page 84
 1 future medical costs but not to your opinion in the                1 traditionally considered a collateral source.
 2 second bucket regarding reasonable value of those                  2           One item we are often familiar with that's
 3 costs.                                                             3 described in this manner are services provided through
 4          Is that correct?                                          4 IDEA. So if you receive nursing services during school
 5      A    I have to think about that more before I                 5 hours or some supplemental care during the summer that
 6 said immediately that's correct. I would believe that              6 comes through IDEA, that is not necessarily --
 7 my mind, when I'm doing my analysis, is generally aware            7 depending on how the state takes it -- a collateral
 8 of this. So reasonable value always takes into                     8 source.
 9 consideration the different kinds of care an individual            9      Q     Now, Mr. Dawson, you're not here to provide
10 will need and the kinds of services that are available            10 any opinions, legally speaking, about what does or
11 to them. And when I am analyzing any given good or                11 doesn't constitute a collateral source, right?
12 item, I have to be able to determine whether or not               12      A     No, I'm not here to do that. But I have
13 that item is covered and/or available to that                     13 been asked by you to explain why we take determinations
14 individual under a given program. And therefore                   14 of disability into consideration in order to make a
15 whether some given set of fees or pricing associated              15 determination about reasonable value. And I think I
16 with it are going to be paid by that individual or by             16 have been asked to explain what the impact of those
17 some other entity.                                                17 determinations have upon our determination of
18      Q    So are you saying that the determination of             18 reasonable value.
19 disability -- let's break it down.                                19      Q     I was trying o break this down part by
20          The determination of disability is relevant              20 part. So I was focussing on the first bucket. So with
21 to your opinions regarding available collateral sources           21 regard to your first set of opinions regarding what
                                                           Page 83                                                               Page 85
 1 because meeting the definition of having a disability              1 collateral sources are or may be available to C.W., the
 2 under various state or federal regulations can be a                2 determination of disability is relevant to that because
 3 qualifying condition for those programs, right?                    3 it helps C.W. qualify for benefits under various
 4      A    For those programs or goods or services.                 4 programs, right?
 5 Certain kind of items specific to any one in Mr. C W's             5      A      Correct.
 6 position may be made available that might not normally             6      Q      And then with regard to the reasonable
 7 be made available to individuals in unrelated                      7 value issue, I think you were saying that a
 8 circumstances.                                                     8 determination of disability also can figure into that
 9          And at that point, I'm able to identify                   9 analysis.
10 specific kinds of pricing and/or fees and/or                      10           Is that correct?
11 non collateral sources that might be put forward to               11      A      Correct.
12 care for this individual or rather that are available             12      Q      And maybe we'll get a little more specific
13 to them for someone like that.                                    13 about that when we come to the methodological part of
14      Q    Let's back up. When you said non                        14 the report.
15 collateral source, what do you mean by that?                      15           Down at the bottom of page 3 -- page 6 and
16      A    There are instances in which in the                     16 the top of page 7, are those all of the definitions of
17 marketplace -- or outside -- not outside of the                   17 disability that you applied in forming your opinion?
18 marketplace. There are instances in which there                   18      A      Yes. Those are the ones related to Georgia
19 are -- there's funding or benefits of some type that              19 law.
20 are provided to an individual that are not required to            20      Q      Well, there are two CFR definitions as
21 be paid back. And therefore they would not be                     21 well, right?

                                                                                                              22 (Pages 82 - 85)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 24 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 86                                                               Page 88
 1      A    I'm sorry. I went straight down to the                   1 individuals in Mr. C.W.'s position. When I say that,
 2 bottom of the page. I didn't start where I have listed             2 I'm describing someone who is significantly disabled
 3 rules. Yes. Under the rules, there are CFR                         3 and needs a certain level of care -- at least described
 4 definitions. Yes.                                                  4 as significantly disabled. So it's a -- if you need --
 5      Q    There are two CFR definitions and two                    5 I guess the best example -- a G tube, assistance of
 6 Georgia Code definitions?                                          6 some given type by a particular kind of care provider,
 7      A    Yes. Correct.                                            7 beds, slings, you name it, these kinds of programs
 8      Q    And those are the definitions of disability              8 provide additional services in that way.
 9 that you applied in forming your opinion?                          9       Q    And you have not done an analysis of
10      A    Correct.                                                10 whether C.W. would qualify for Medicaid through a
11      Q    And did you conclude that C.W. qualified as             11 waiver program in any state except for Georgia,
12 having a disability under all of those definitions?               12 correct?
13      A    Well, the regulations -- he qualifies under             13       A    No, I have not.
14 the regulations.                                                  14       Q    So, for example, if his family were
15      Q    At both the state and federal level?                    15 transferred for work purposes to South Carolina, you
16      A    Yes. Based on what were in his medical                  16 haven't done that analysis?
17 records and based on what that state requires, yes.               17       A    No. But I feel very confident saying that
18      Q    Let's turn to page 8. This is part four,                18 at least the Katie Beckett program would more likely
19 Medicaid, waivers, and other special needs programs.              19 than not apply to him.
20          Let's talk first about eligibility for                   20       Q    But you don't know?
21 Medicaid. My understanding of your opinion here is                21       A    Well, he has not moved to South Carolina.
                                                           Page 87                                                               Page 89
 1 that C.W. would not be eligible for Medicaid without a             1       Q    So the answer is, no, you don't know?
 2 waiver because of his family income but that he is                 2       A    Correct.
 3 eligible for Medicaid under the Katie Beckett waiver               3       Q    Next on page 10, you look at the
 4 program in the State of Georgia.                                   4 applicability of the Individuals With Disabilities
 5          Is that right?                                            5 Education Act, IDEA. You conclude that C.W. qualifies
 6      A    Yes. That's one of the programs. Yes.                    6 as a child with a disability pursuant to the IDEA.
 7      Q    Are there others?                                        7           Is that correct?
 8      A    I believe I mentioned the Medically Needy                8       A    Correct.
 9 program as well.                                                   9       Q    And because of that, federal law entitles
10      Q    You did mention that one. My recollection               10 him to a free, appropriate public education.
11 was that you thought he was -- yes. You did conclude              11           Is that right?
12 that he is qualified for eligibility in the Aged,                 12       A    Correct.
13 Blind, and Disabled Medically Needy program.                      13       Q    And as part of a free, appropriate, public
14          So those are two paths to Medicaid                       14 education a school district that receives federal funds
15 eligibility for C.W. in your opinion?                             15 would have to provide him with certain special
16      A    Correct.                                                16 educational services, right?
17      Q    Katie Beckett and Medically Needy?                      17       A    Correct.
18      A    Correct.                                                18       Q    And those special education services
19      Q    What types of things does Medicaid cover?               19 include the ones that you've listed at the top of page
20      A    Well, the Medically Needy program and the               20 11?
21 Katie Beckett program are specifically designed for               21       A    Correct.

                                                                                                              23 (Pages 86 - 89)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 25 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                          Page 90                                                             Page 92
 1      Q    And those services have to be provided as               1 think you thought he would be eligible for TriCare,
 2 part of C.W.'s education, right?                                  2 right?
 3      A    Correct.                                                3       A     Right.
 4      Q    So, for example, when school is out for the             4       Q     And that is not true now, is it?
 5 summer, the school district would not have to provide             5       A     Correct.
 6 all of those services?                                            6       Q     So in the space of a year, he went from
 7      A    That's not true.                                        7 being eligible for TriCare to not being eligible for
 8      Q    They might have to provide some. They                   8 TriCare?
 9 don't have to provide them all, do they?                          9       A     Correct.
10      A    There is a particular provision under                  10       Q     Are there any circumstances that could
11 federal law that provides for individuals receiving              11 change in C.W.'s life that would affect his eligibility
12 necessary treatment that is determined in their                  12 for Champ VA?
13 individualized education program during the summer.              13       A     Not to my knowledge.
14      Q    Sure. Like an extended school year for                 14       Q     How are healthcare services delivered
15 example?                                                         15 through Champ VA? Maybe that's too broad.
16      A    Well, the services can also be provided in             16            Do you know if a person who receives
17 the home as well. There is no restriction as to the              17 healthcare services under Champ VA is required to,
18 location, at least in that sense.                                18 first, seek medical treatment at a military facility
19      Q    In order for those to be provided, would               19 before seeking treatment at a nonmilitary facility?
20 they have to be determined to be educationally                   20       A     I don't --
21 necessary?                                                       21       Q     The question --
                                                          Page 91                                                             Page 93
 1      A    Well, they would have to be a part of the               1      A     I don't have an immediate answer to that.
 2 individual education program, the IEP. And that would             2 I don't understand how you're trying to ask the
 3 be a part of the determination.                                   3 question. But I --
 4      Q    And then you also looked at the Georgia                 4      Q     For example, there might be some or even
 5 Children's First Program?                                         5 all healthcare services that a person receiving Champ
 6      A    Yes. It's a Title 5 grant.                              6 VA would want to take advantage of for which they would
 7      Q    And he won't be eligible for that program               7 have to, first, go to a doctor on the base and then get
 8 only until the age of five, right?                                8 a referral to a doctor off the base if they couldn't
 9      A    Yes, sir.                                               9 provide the service on the base.
10      Q    After that, that program would provide no              10           Do you know whether that is part of the way
11 coverage?                                                        11 the Champ VA program works?
12      A    I believe so.                                          12      A     No.
13      Q    And you didn't do any analysis of similar              13      Q     No, you don't know?
14 programs in other states?                                        14      A     No.
15      A    No.                                                    15      Q     Is it fair to say you didn't take that
16      Q    Let's look at part five on page 13.                    16 possibility into account in formulating your opinions
17          This is your analysis of eligibility for                17 set forth in this report?
18 Champ VA.                                                        18      A     Whether or not the individual would first
19          Is that right?                                          19 have to go to a military base before going somewhere
20      A    Yes.                                                   20 else outside of the military --
21      Q    Is this -- now, in your original report, I             21      Q     Whether or not there are any restrictions

                                                                                                               24 (Pages 90 - 93)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 26 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                             Page 94                                                               Page 96
 1 under the Champ VA program on the manner in which a                  1          It's a question about how the patient
 2 beneficiary can receive healthcare services.                         2 actually receives the care. For example, if I have
 3      A     I think my knowledge might be limited. The                3 certain types of HMOs that are available in the private
 4 way I understand the program, at least based on the                  4 marketplace, I have to go to an in-network doctor if
 5 work I've done around it, individuals can receive care               5 the services are available from an in-network doctor.
 6 through the Champ VA program. And like most people who               6 Otherwise, the program won't pay for it, right? You're
 7 are involved in VA, you use VA provided care. Now, to                7 familiar with that type of set up?
 8 the extent that the VA doesn't provide that care, there              8      A     Yes.
 9 may be other options for you that you can be guided to.              9      Q     And so that places a restriction on my
10           Can an individual have care independent of                10 choices regarding where I get my healthcare, right? I
11 the VA? Certainly. You can have care provided through               11 mean, if I want the program to pay for it, I have to
12 a private entity, a private insurer, something along                12 comply with their rules about what they'll pay for,
13 those lines. Certainly an individual could have a                   13 correct?
14 spouse that might have care provided through them. In               14      A     In general.
15 that sense, often individuals are permitted to take                 15      Q     And that type of restriction on how a
16 advantage of the private insurance first.                           16 patient actually goes about getting their healthcare
17           But with regard to having Champ VA care                   17 and choosing which doctors to go to, that isn't
18 alone, which is what I believe I hear -- which is what              18 something that you considered in formulating your
19 I believe -- and not accessing that care directly                   19 opinions in this case, is it?
20 before one went outside of the Champ VA system, I'm not             20      A     I'm actually trying to understand the
21 certain if it happens different than one having to go               21 question but also answer you more directly. It sounds
                                                             Page 95                                                               Page 97
 1 through the VA system first.                                         1 to me as if you're asking both a question about
 2       Q     Okay. So the way in which a beneficiary                  2 receiving benefits and then how those benefits are
 3 would go about receiving these services was not part of              3 going to be financed.
 4 your -- since it's not something that you knew, it                   4      Q     I'm not asking either of those questions.
 5 couldn't have been part of what you considered in                    5 I'm asking what you considered in formulating your
 6 formulating your opinion.                                            6 opinions. So if some of these programs you're claiming
 7            Is that right?                                            7 C.W. is eligible for place restrictions on the way in
 8       A     Well, if you're asking --                                8 which he has to go about getting his healthcare
 9       Q     For purposes of your opinions, would it                  9 services, that didn't affect your opinions -- that
10 matter to you if, hypothetically, Champ VA required                 10 fact, those restriction didn't affect your opinions in
11 C.W. first to go to the Veterans Administration or to a             11 this case, did it?
12 base to receive healthcare services and the program                 12      A     I am going to reserve -- I don't know how
13 wouldn't reimburse expenditures on non VA or non base               13 to answer that question to be honest with you. I can't
14 medical care unless that procedure had been complied                14 say that it didn't affect my opinion. You've asked me
15 with?                                                               15 whether or not I considered the question of
16       A     Are you referring to how benefits are                   16 reimbursement, the coordination of benefits. Yes, I
17 coordinated and who pays first and who pays second --               17 did consider the coordination of benefits in terms of
18 oh, that's what you're referring to. Are you -- is                  18 who paid and when, who was eligible to pay for whatever
19 this a coordination of benefit question, how the                    19 service. Those questions were considered by me.
20 benefits are coordinated and who pays?                              20      Q     That wasn't --
21       Q     No, not exactly, no.                                    21      A     But that's not your question.

                                                                                                                25 (Pages 94 - 97)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 27 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 98                                                               Page 100
 1      Q    That's not my question.                                  1 doctor --
 2          For example, if C.W. receives services from               2       A     I don't know that to be true.
 3 Medicaid, he has to go to providers who accept                     3       Q     I'm just asking you to make this
 4 Medicaid, right?                                                   4 assumption. I'm just saying this type of analysis is
 5      A    Not necessarily, no. It depends on the                   5 not something that is figured into your opinions, is
 6 nature of the -- so there are a lot of -- the simple               6 it?
 7 answer to a question that I am -- would be inclined to             7       A     I would never make the assumption. What
 8 answer is that the program does define the scope of the            8 you're asking me to do is to actually make a medical
 9 services you can receive and therefore how those                   9 decision. I don't do that. I don't make medical
10 services are going to be paid for or financed.                    10 determinations.
11          So if you're talking about the Champ VA                  11       Q     That's not what I'm asking you to do.
12 program, Champ VA does have rules for who you go to,              12       A     That is actually a medical determination.
13 what services are going to be provided, what you need             13       Q     You're not understanding my question.
14 from the very beginning. And certainly it would apply             14       A     I'm not.
15 in the case of Mr. C.W., that it's going to have rules            15       Q     In formulation your opinions in this case,
16 in place in terms of ensuring that this individual is             16 you didn't consider that some of these types of
17 able to receive the best possible care necessary.                 17 coverage place restrictions on the choices that C.W.
18          Now, with regard to.                                     18 and his family can make about their care, restrictions
19      Q    -- just that, right?                                    19 they wouldn't have if they just got cash in damages
20      A    Actually, the --                                        20 that they could go pay for healthcare with at the Mayo
21      Q    I'm sorry. I --                                         21 Clinic or in Switzerland or Canada or wherever they
                                                           Page 99                                                               Page 101
 1      A    Actually, the Champ VA program -- Champ is               1 want to go, right? That's not part of your analysis?
 2 not the kind of program that is very -- I don't want to            2       A     The choice as to where this individual
 3 say -- the VA program is not famous for saving money.              3 could go because the family or the medical provider
 4 Let's just leave it at that. So there are many avenues             4 assumed it was better is a medical decision. I don't
 5 by which individuals can make a choice to use programs             5 make those kinds of decisions. And I'm not making it
 6 that are a bit more expensive if it's determined that              6 on behalf of the family. If you can show me in the
 7 it's necessary.                                                    7 information I've been given where the individual should
 8          In the case of Mr. Willis, I am -- I                      8 go based on a doctor's opinion about where they should
 9 hesitate to say that I did not consider how the                    9 go, I would 100 percent be able to say that's where
10 benefits would be coordinated or how the benefits would           10 they would be permitted to go if it's medically
11 be paid for in different situations. I don't believe              11 necessary.
12 that I -- my analysis considered anything that was not            12           So to the extent that the decision is not
13 medically necessary or that it would be paid for                  13 one that has any impact on medical necessity, I'm not
14 beyond. Whether or not Mr. Willis or his mother chose             14 going to opine about it at all. Medical necessity
15 to not follow the rules, I can't speak to that.                   15 decisions, even the choice of provider, are things that
16      Q    Okay. But here is another way of asking my              16 I don't get involved in.
17 question. So there is a medically necessary procedure             17       Q     But what if it's not a question of medical
18 that C.W. needs. He can go get it at the VA hospital              18 necessity. What if it's just what the family thinks is
19 or he can go get it at the Mayo Clinic. But he can't              19 best but the VA doesn't agree?
20 go get it at the Mayo Clinic and have it paid for by              20       A     I have not --
21 Champ VA because they want him first to go to a VA                21       Q     Who gets to decide?

                                                                                                             26 (Pages 98 - 101)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 28 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                          Page 102                                                              Page 104
 1       A    I'm not the person to make that decision,               1 by the different operators in the market, the different
 2 sir. That's not what I'm called here to do. I'm a                  2 payors in the market. So I look at the cost that's
 3 healthcare cost expert. I don't do that.                           3 being borne or potentially being borne by the
 4       Q    What you're called here to do is to make                4 plaintiff -- or Mr. C.W. in the market.
 5 sure the family gets only enough money to take care of             5          And not only do I do that, I accept
 6 C.W. if they also take advantage of all of these other             6 Mr. C.W.'s own estimation of what he believes to be his
 7 programs and then they won't be free to make those                 7 cost in the market in the future. And I do that for
 8 other choices because they won't have the money to do              8 all of the payers in the market, what all of those
 9 it?                                                                9 payers believe to be their costs in the market. And I
10       A    Sir, I have not done that in this                      10 accept that data on its face value. I don't -- on its
11 particular case. As I presented at the very beginning,            11 face. I don't question it.
12 and I hate to interrupt here. I want to make sure the             12          I merely determine if -- based on the
13 record is correct. What I have --                                 13 number of individuals in the market who actually pay
14           MS. STATKUS: I'm going to object to the                 14 out of pocket like you're suggesting that C.W. does,
15 form of that question.                                            15 what -- or how is it weighed in the overall scheme of
16           THE WITNESS: What I have been able to do                16 things. And that allows me to come up with this sort
17 is demonstrate what the cost of care would be for the             17 of reasonable value. And that's a very quick way of
18 plaintiff, Mr. C.W., in the various scenarios -- in               18 talking about it.
19 other words, different types of decisions he can make.            19          But I don't think I'm able to talk about,
20 If he made a decision not to have insurance or not to             20 in a qualitative sense, whether one choice in terms of
21 take advantage of the programs, I provided what that              21 provider is better than another choice in terms of
                                                          Page 103                                                              Page 105
 1 cost will be. I have provided what the cost will be if             1 provider if it places me in the position of making a
 2 he chooses to make different kinds of decisions.                   2 medical decision, a decision that only a physician
 3           I think it is best to describe what I have               3 should make or a healthcare --
 4 done, as the expert here on costs, is to explain what              4      Q     I'm not asking --
 5 the reasonable value; i.e., what the cost could                    5      A     Then I don't have to answer any more of the
 6 potentially be to the plaintiff in different                       6 questions, I guess, about that type of thing, because
 7 situations. One of those situations is one without                 7 that seems to -- makes me feel -- I could be wrong --
 8 insurance and the other is with insurance. And all of              8 as though I'm in that position. And I'm not here to
 9 those choices in terms of programs in-between.                     9 talk about that.
10       Q    And by "cost," you mean his out-of-pocket              10      Q     No. I haven't asked you to do that.
11 cost, right?                                                      11          Let's look at page 13 -- no. Let me turn
12       A    Total out-of-pocket costs. Yes.                        12 to page 14. Part six, commercial healthcare coverage
13       Q    Not the cost that being borne by the                   13 options.
14 insurance company that's paying more in benefits than             14          And what you did in this part, as I
15 it's taking in in premiums or the VA that is                      15 understand it, is you analyzed the plans that are
16 subsidizing his care or Georgia that's paying its                 16 available under the Georgia Health Insurance Exchange,
17 Medicaid funds to pay for his care? Those costs are               17 right?
18 not part of the costs you're talking about --                     18      A     Correct.
19       A    Actually, I look at all costs, because I               19      Q     And that's an insurance exchange that's set
20 have to look at the costs in the marketplace. So when             20 up pursuant to the ACA, right?
21 I analyze cost, I actually look at the cost being borne           21      A     Correct.

                                                                                                          27 (Pages 102 - 105)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 29 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 106                                                                Page 108
 1      Q     And you selected a plan that you believe is              1 if care is needed for an individual in order for them
 2 typical for the Georgia marketplace.                                2 to live, then that care -- in terms of survivability,
 3          Is that right?                                             3 then that care is going to be provided.
 4      A     Correct.                                                 4            Unless what I've been viewing in the
 5      Q     And you determined what the monthly premium              5 life-care plan is not medically necessary, it's my
 6 and out-of-pocket maximum are for that plan?                        6 understanding that that medically necessary care will
 7      A     Correct.                                                 7 be covered.
 8      Q     You looked at it at one point in time,                   8        Q    Now, in your first report -- let's go back
 9 correct?                                                            9 to -- which exhibit was that?
10      A     Correct.                                                10        A    5.
11      Q     So you didn't look at trends with regard to             11        Q    In your first report -- and look at part
12 increase or decrease in premiums over time or -- is                12 six which starts on page 21 -- you looked at this same
13 that right?                                                        13 plan, right?
14      A     We looked at the most recent --                         14        A    Yes.
15      Q     Didn't analyze that?                                    15        Q    And you referred extensively in this
16      A     We looked at the most recent data. We                   16 section of your first report to the guaranteed-issue
17 didn't look at trend data.                                         17 requirement of the ACA, right?
18      Q     And you also didn't look at trend data in               18        A    Yes.
19 terms of what this plan covers, the scope of coverage              19        Q    And you scrubbed all that out of your
20 under plan or comparable plan.                                     20 second report. Why --
21          Is that right?                                            21        A    I don't understand what you mean by scrub
                                                           Page 107                                                                Page 109
 1      A     Well, we always look at what the benchmark               1 out.
 2 plan covers in the state.                                           2      Q      Well, you removed all the references to the
 3      Q     But you didn't look at whether insurers in               3 ACA from part six of your second report. Why is that?
 4 Georgia in the marketplace have been offering more                  4      A      It's a year later, and there was no need to
 5 expensive and less generous plans over time, right?                 5 talk about it.
 6 You didn't do that type of analysis?                                6      Q      Does it have anything to do with the fact
 7      A     No. There was no -- no.                                  7 that the United States has now taken the position that
 8      Q     And so you can't make any projection, just               8 the ACA is unconstitutional?
 9 based on the analysis you did, about whether plans                  9            MS. STATKUS: Object to form.
10 available under the Georgia Health Insurance Exchange              10            THE WITNESS: No. It just made the report
11 are likely to get more expensive and/or cover fewer of             11 cleaner. I think it's understood -- I think if you
12 C.W.'s medical needs, can you?                                     12 look at this report that we provided you, we spoke
13      A     I can only say one thing. I can say that                13 about the presence of the ACA in the very first
14 to the extent that C.W.'s medical needs are medically              14 section, part one of Exhibit 7.
15 necessary, they will be covered.                                   15            So I think it's implicit and probably it
16      Q     Now, what do you base that on?                          16 was redundant to continue to talk about the ACA. So
17      A     Several things. Federal law, Georgia law,               17 that was the reason why it was not included again.
18 definitions with regard to medical necessary, health               18      Q      So you're still relying on the guaranteed
19 policy in the state itself, the plans that are --                  19 issue -- so are you still relying on the
20 medical necessity almost has its own legs now these                20 guaranteed-issue requirement of the ACA in forming your
21 days. But in Georgia, it seems to be very clear that               21 opinions in part six of your second report, as you did

                                                                                                              28 (Pages 106 - 109)
                                                   Veritext Legal Solutions
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 30 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                            Page 110                                                              Page 112
 1 in your first report?                                                1 Are you still relying on it in part six of your second
 2      A     Well, you know what I'm specifically                      2 report or not?
 3 relying on is the benchmark plan of the state that the               3      A    As I mentioned in the both the first and
 4 state has already adopted. And I'm also specifically                 4 second report -- as least I believe I did -- the
 5 relying on Georgia's own guaranteed-issue provision                  5 guaranteed-issue provision of both the ACA and the
 6 itself.                                                              6 guaranteed-issue provisions of Georgia law itself are
 7           It's not really necessary for me to rely on                7 both in play here. So they're both equally -- not
 8 the larger -- or federal provisions in this particular               8 equally important. They're both important.
 9 case to talk about state law -- to talk about state                  9          However, what you're suggesting that at
10 insurance law since the ACA did not change the role of              10 some point the ACA should go away, as you want to
11 the state in terms of governing insurance. As a matter              11 argue, my response to you is that that does not
12 of fact, the state's, sort of, role here is preserved.              12 eliminate or somehow diminish the impact of Georgia law
13      Q     Are you talking about the McKaren                        13 itself which states that Mr. Willis -- Mr. C.W. will
14 Ferguson --                                                         14 have access to coverage because it's guaranteed under
15      A     No. McKaren Ferguson has nothing to do                   15 state law. And any provider of coverage in the
16 with what I'm referring to at all. That's an entirely               16 state -- insurance coverage in the state that intends
17 different thing.                                                    17 to operate in the state must provide coverage to him if
18           What I'm actually referring to, what has                  18 he seeks it.
19 been established under ERISA in a lot of language --                19      Q    And you don't know whether Georgia adopted
20 basically, the state has and continues to maintain the              20 that regulation as a result of the passage of the ACA?
21 right to regulate insurance. So the Affordable Care                 21      A    I don't know either way or the other. What
                                                            Page 111                                                              Page 113
 1 Act does not, sort of, eliminate that right that a                   1 I do know is that that's the law.
 2 state may have.                                                      2      Q    And you don't know whether, were the ACA to
 3           So in this particular case, when we talk                   3 be struck down, Georgia would repeal its regulation?
 4 about the guaranteed-issue provision, the state has                  4      A    I've read deeply enough into the regulation
 5 the -- has the -- it can, and in this particular case                5 to know that the regulation is not attached to or
 6 Georgia does, put in place a guaranteed-issue                        6 connected with the law being struck down.
 7 provision. And it has the authority and the right to                 7          Apparently Georgia did not mention, in any
 8 regulate insurers in its state as it chooses, which it               8 of its language that I read in regard to that
 9 has done.                                                            9 regulation or any of the -- the rules related to that
10           So it's saying to insurers in the state                   10 regulation, rather, I didn't read anything creating a
11 that if you choose to operate in the state you must                 11 direct connection to the existence or nonexistence of
12 guarantee access to coverage in our state to anyone who             12 the ACA.
13 seeks coverage. And that is a Georgia rule. That's                  13      Q    Sure. And my question was not would it
14 not a federal rule.                                                 14 automatically be struck down just by operation of law.
15      Q     And so my question is -- to go back to my                15 My question is, you don't know whether, if the ACA were
16 actual yes or no question, in your second report, are               16 to be struck down, Georgia might decide to repeal its
17 you still relying on the guaranteed-issue provision of              17 regulation -- it's guaranteed-issue regulation? You
18 the ACA like you did in your first report -- you                    18 can't predict that.
19 expressly did in your first report?                                 19      A    No, I cannot predict it.
20      A     I expressly --                                           20          But I can say it's highly unlikely. And
21      Q     Are you still relying on it, yes or no?                  21 reason I would say it's highly unlikely is based on my

                                                                                                               29 (Pages 110 - 113)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 31 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                            Page 114                                                              Page 116
 1 knowledge of insurance in and of itself. And one of                  1      Q    So even though the two concepts might be
 2 the things I think that Georgia would want to                        2 distinguishable for practical purposes, they're going
 3 prevent -- and possibly many other states around the                 3 to be the same number, right?
 4 country if something like that were to happen -- would               4      A    Essentially, yes.
 5 be what we would call, in the insurance world, is a                  5      Q    And in the healthcare context, you say
 6 death spiral of sorts, and economic or -- death spirals              6 three principles should be followed when calculating
 7 actually, where the entire healthcare system would                   7 reasonable value. I just want to understand these
 8 begin to, sort of, fall apart under its own weight.                  8 principles. Principle one, the calculation should be
 9      Q     You're not an expert on Georgia politics,                 9 independent of any one individual's experience of
10 are you Mr. Dawson?                                                 10 price, mode of healthcare payment, and medical
11          MS. STATKUS: Object to form.                               11 condition or diagnosis.
12          THE WITNESS: I'm not speaking -- I didn't                  12          What does that mean?
13 speak to Georgia politics. I'm just simply speaking                 13      A    It means that you don't look to one
14 about the healthcare.                                               14 specific individual and say that -- it's best to give
15      Q     Right. I'm not characterizing your answer.               15 an example. There is a difference between person A
16 I'm asking you a separate question.                                 16 having a dollar in his pocket and saying that most
17          You're not an expert on Georgia politics,                  17 people have a dollar in their pocket.
18 are you, Mr. Dawson?                                                18      Q    Okay. How does that relate to principle
19      A     No.                                                      19 one?
20      Q     Let's go to part seven, reasonable value.                20      A    In other words, one person -- we're talking
21      A     Yes.                                                     21 about one person's experiences, not the same as talking
                                                            Page 115                                                              Page 117
 1      Q     So you state here that the reasonable value               1 about a class of individuals' experience. So group A
 2 of services is the fair market value.                                2 has a dollar -- or on average, group A has a dollar in
 3          Is that right?                                              3 its pocket. That average dollar is different from one
 4      A     Yes.                                                      4 person's experience of a dollar. It's not the same.
 5      Q     Okay.                                                     5      Q    So relating this to reasonable value, are
 6      A     I said it reflects the fair market value.                 6 you trying to say that the reasonable value of a good
 7 But yes.                                                             7 or service should be based on aggregate data from
 8      Q     And is there any -- are there any                         8 multiple individuals in many, many different
 9 circumstances where the fair market value and the                    9 situations, and it shouldn't be the value that it's
10 reasonable value would differ?                                      10 reasonable to think this one individual may have to pay
11      A     Are there any circumstances in which the                 11 for the goods or services?
12 fair market value and the reasonable value would                    12      A    Correct.
13 differ? By and large, no.                                           13      Q    Because the -- if you average out all the
14      Q     When you say "by and large," are you -- can              14 differences in individual circumstances, if you
15 you think of any specific circumstances where they                  15 eliminate those, the numbers that you may come up with
16 would differ?                                                       16 as the fair market value is higher than some people
17      A     In general, no.                                          17 have to pay, and it's lower than some other people have
18      Q     There might be. You just can't think --                  18 to pay, right?
19      A     Well, I don't like to give absolutes, but I              19      A    Well, if you're talking about individual
20 have not come across any instances in which they would              20 cases, the reasonable value is distinct from --
21 necessarily differ.                                                 21      Q    Right. The --

                                                                                                             30 (Pages 114 - 117)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 32 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                            Page 118                                                              Page 120
 1      A     Yeah. The reasonable value is distinct                    1 another way of saying here is a transaction.
 2 from individual cases.                                               2      Q    Got it. Okay. So it is something that's
 3      Q     So the reasonable value is a kind of                      3 observable?
 4 average of what payors in the marketplace have to pay.               4      A    Exactly.
 5          Is that right?                                              5      Q    I could watch you buy a television?
 6      A     Well, the reasonable value is the                         6      A    Yes.
 7 experience of the cost between payors and payees for                 7      Q    And I've seen a transaction in which you've
 8 lack of a better phrase.                                             8 had the experience of price?
 9      Q     I'm sorry that we lack a better phrase,                   9      A    Exactly.
10 because I don't understand that one. The experience                 10      Q    Okay. I think I understand a little better
11 of. That sounds so metaphysical. And I say this from                11 now.
12 one philosopher to another.                                         12          And so what you're saying is for experience
13          But the experience of cost is one thing,                   13 of price could we just substitute the term transaction?
14 and cost is another thing?                                          14      A    I'm not going to do that necessarily. By
15      A     Right.                                                   15 the way, I do believe you understood what I was saying,
16          So --                                                      16 but we'll just keep it moving. I'm sorry.
17      Q     What --                                                  17      Q    Well, yeah, we can avoid the commentary.
18      A     So, essentially, it's how you -- there is a              18 I'm actually trying to understand, because I'm not an
19 relationship between the buyer and the seller. And the              19 economist.
20 buyer and seller have a relationship that creates a                 20      A    Okay.
21 certain -- that's basically an experience. They both                21      Q    Let's move to principle two. The
                                                            Page 119                                                              Page 121
 1 have an experience. There is a relationship between                  1 calculations should use objective and independently
 2 the two.                                                             2 verifiable pricing and cost data derived from the
 3          And that relationship between the two,                      3 actual payments made by market-defined payors, that is
 4 particularly if we're talking about buyers -- the one                4 public insurers, commercial insurers, self-insured.
 5 group of buyers of a similar type and sellers of a                   5      A    Yes.
 6 similar type. That reasonable value is a reflection of               6      Q    And so what you're saying there is that you
 7 the average price in terms of the selling price and the              7 should get reliable data about what different
 8 purchase price between the two of them, that                         8 categories of payors are actually paying for goods and
 9 experience.                                                          9 services in the healthcare marketplace?
10      Q     So I'm having a little trouble with the                  10      A    Correct.
11 term "experience" just because it sounds qualitative                11      Q    And then principle three, the calculations
12 and subjective. It doesn't sound objective and                      12 should use population data regarding the take up
13 measurable. Price now, on the other hand, sounds like               13 market -- wait. This may be a compound adjective.
14 something you could collect data on. But people's                   14      A    It's actually missing the word of, the take
15 experience, that sounds very wishy-washy.                           15 up of market defined modes of healthcare financing.
16          How does the concept of experience                         16 That is a typo on my part.
17 quantifiable?                                                       17      Q    So what it should say, if I understand the
18      A     I think that what's happening here -- maybe              18 language, is -- this refers to the percentages in
19 I need to use a different term. So I'll need to think               19 Exhibit 4.
20 for a second. But in economics, the word experience is              20          Is that right?
21 used all the time. So your experience of price is just              21      A    Uh-huh.

                                                                                                            31 (Pages 118 - 121)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 33 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 122                                                               Page 124
 1      Q    Is that a yes? For clarity.                               1 the courts like to work with.
 2      A    Yes. Yes.                                                 2          And, of course, in this case, I've made
 3      Q    So that should figure into the calculation?               3 sure that I've aligned myself with the thinking of the
 4      A    Correct.                                                  4 Georgia courts as well to make sure that I'm explaining
 5      Q    Are these three principles that you came up               5 myself in a way that makes sense to the courts.
 6 with, or are they principles that are published                     6      Q      So I think the answer to my yes or no was,
 7 somewhere? Where did you get them?                                  7 no, your methodology is not exactly the same as the
 8      A    Well, functionally, what I have derived                   8 federal government or the university purchasing
 9 based on my own experience from the use of the, sort                9 departments, but it's similar to what the federal
10 of, standard comparative pricing analysis or                       10 government does.
11 methodology that's applied. And comparative pricing,               11          Is that right?
12 that particular methodology that's used is -- this is              12      A      We all use -- it's the same methodology,
13 sort of standard. You can find this when you want to               13 just different stuff. The methodology of doing
14 find out how to do pricing. If you want to do a                    14 comparative pricing is structurally the same, just
15 pricing analysis and you're doing a comparative pricing            15 different stuff, different actors performing the
16 analysis and you're doing it in the healthcare sector              16 analysis.
17 or any particular sector, they will use these kinds of             17      Q      In different contexts?
18 principles to describe it.                                         18      A      In a different context. Correct.
19      Q    Okay. So would you say that these three                  19      Q      Would you agree that -- let's talk about a
20 principles are generally accepted in the field of                  20 marketplace that I'm more familiar with like buying a
21 healthcare policy as a way to calculate -- or as                   21 used car.
                                                           Page 123                                                               Page 125
 1 principles that are relevant to calculating the fair                1      A      Okay.
 2 market value of goods and services in the healthcare                2      Q      If I want to sell my used car to Car Max or
 3 marketplace?                                                        3 another dealer, they're going to pay a lower price than
 4      A    And the most accurate way to -- the latter                4 I'm going to pay if I want to buy a used car from them,
 5 of what you said is correct, that these principles are              5 right?
 6 relevant to calculating value in the market if one is               6      A      Okay.
 7 applying a comparative pricing analysis.                            7      Q      I mean do you agree with that?
 8      Q    And you say that the federal government and               8      A      I've never bought a car from Car Max. I
 9 university purchasing departments apply methodologies               9 think if you've talking about purchasing or selling I
10 like this when they're determining the reasonableness              10 would put myself in the position of maybe the plaintiff
11 of prices?                                                         11 and say something along the lines -- if this is what
12      A    Yes.                                                     12 you've referring to -- that when I walk into a
13      Q    Do you apply the same methodology as the                 13 dealership do I pay the sticker price or not. No one
14 federal government or any -- I think you cited                     14 pays the sticker price.
15 Stanford -- any particular university purchasing                   15      Q      That's not really what I want. No. That's
16 department? Or is your methodology somewhat different? 16 not my question.
17      A    I actually apply a very similar methodology              17      A      Oh, what direction -- I'm sorry.
18 to what the federal government has used. And I also                18      Q      My question has to do with the fact that
19 rely heavily on the work of Sedgewick -- you probably              19 purchasers in the marketplace, payors, can be
20 remember him -- on damages as well, just to make sure              20 indifferent positions in the market and that can affect
21 that my thinking is in line, with general, with what               21 the price that is reasonable for them to pay.

                                                                                                              32 (Pages 122 - 125)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 34 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                            Page 126                                                              Page 128
 1      A    So that's a confusion about what I mean by                 1 get, right, because they're buying a million
 2 reasonableness or what anyone -- what the courts --                  2 refrigerators and I'm baying one at retail.
 3 what reasonableness is about or reasonable value is                  3          You accept that, right? I mean that's
 4 about.                                                               4 pretty basic.
 5          The question is not whether or not it's                     5      A    What I'm a little bit confused on -- and
 6 reasonable to the individual. For example, this is                   6 you can help me here -- is why you would be equating a
 7 where we got into a qualitative discussion. I as a                   7 Home Depot who is -- whose market, if segmented
 8 seller can believe it's reasonable to sell my services               8 properly includes Sears and includes Wal-Mart and --
 9 for fixing a broken arm, for example, at a million                   9 that's the market in which Sears operates in for the
10 dollars. I can think that the fixing of a broken arm                10 purchase of refrigerators. It's refrigerators that it
11 is worth a million dollars. But the market says that                11 purchases are a bit different than the refrigerators
12 fixing a broken arm is worth $200 tops. So that's what              12 being purchased by the everyday individual consumer.
13 the reasonable value is.                                            13 So it's a different market.
14      Q    This is not responsive.                                   14      Q    No. Home Depot sells the same refrigerator
15      A    Okay.                                                     15 that I bought.
16      Q    Let me ask the questions and sort of lead                 16      A    You know, you're actually confusing --
17 you along. And you can just answer the questions that               17      Q    Let me finish. They buy it at wholesale
18 I ask.                                                              18 because they're buying a million of them. And they get
19          So the question is, for example, suppose my                19 a big discount, because they're buying a million.
20 friend is a purchasing agent for Home Depot. He buys                20      A    This is sort of a standard confusion. This
21 appliances for Home Depot all day long in huge lots.                21 is a huge confusion actually. I don't know how to help
                                                            Page 127                                                              Page 129
 1 Home Depot is a major market player. I go to buy a                   1 us out of that. I think to the record it will be
 2 refrigerator, and I pay $1,000 for it. And I tell him                2 clear, but I'm not sure if I can help us out of the
 3 that. And he says, that's not reasonable. I get those                3 confusion that's being made.
 4 for $500 all day long.                                               4          But what I will say to you is that in
 5      A    I'm sorry. Are you asking me a question?                   5 regard to reasonableness and reasonable value, both
 6      Q    Yeah. I'm figuring out how to phrase the                   6 purchasers and sellers must be on par. That is always
 7 question part of this.                                               7 standard in any relationship. You can't have
 8          In that scenario, what's reasonable for                     8 differences of power.
 9 Home Depot to pay for that refrigerator is very                      9      Q    Could you repeat what you just said,
10 different from what's reasonable for me to pay for that             10 Mr. Dawson?
11 refrigerator because we're in different market                      11      A    I believe both purchasers have to be on par
12 positions, right?                                                   12 with one another. This is the reason why we talk about
13      A    I'm not understanding why we're talking                   13 different purchasing groups in this particular case.
14 about different market positions in this particular                 14 We talk about the individual market as a market. We
15 case. I would think we're talking about apples to                   15 talk about the insurance market. We talk about the
16 apples and oranges to oranges, correct, not different               16 group market. We talk about -- so all of these
17 market positions. The market position of X is                       17 individuals are purchasing groups, and they all have
18 different from the market position of Y.                            18 varying degrees of purchasing power.
19      Q    That's kind of my point.                                  19          Based upon all of their -- and they use the
20          So what is reasonable for Home Depot to pay                20 word position. But it's certainly more accurately used
21 for a refrigerator, that's not a price I can expect to              21 in the way being described now. But based on their

                                                                                                             33 (Pages 126 - 129)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 35 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 130                                                           Page 132
 1 position or their influence in the market, they can                 1 Give us a minute. Let me go and find it. I know where
 2 drive the value of goods and services either north or               2 it is.
 3 south based on their purchasing power. So there you                 3          (There was a break in the proceedings.)
 4 go. It doesn't really get any more complicated than                 4      Q    So, Mr. Dawson, while you were out, we had
 5 that.                                                               5 a brief conversation. So I'm going to ask a few
 6      Q    Sure. And so when you're talking about a                  6 questions, along this line sort of general conceptual
 7 price that is reasonable to expect to be able to get a              7 line. And then we're going to adjourn in the next
 8 good or service for, the purchasers' market position or             8 fifteen or twenty minutes and let Ms. Statkus go. And
 9 market influence has to be taken into account, right?               9 we are going to reconvene when everybody can.
10      A    We always take the individual's position                 10          Did we agree on 1:30 on Tuesday the 18th?
11 into account. But the individual's position should be              11          MR. TAYLOR: That what's I have.
12 taken into account based on the market in which that               12          MS. STATKUS: That's fine.
13 individual participates -- not market, but that group              13          THE WITNESS: That's what I have.
14 in which the individual participates. What group does              14      Q    So, Mr. Dawson, we were talking about
15 the individual participate in.                                     15 different categories of payors in the marketplace,
16          If that individual participates in the                    16 right?
17 uninsured market, then let's talk about what the                   17      A    Yes.
18 purchasing power of individuals in the individual                  18      Q    And the fact that some payors get a lower
19 market happen to be. In this particular case, the                  19 price and some payors get a higher price, right?
20 individual has been permitted -- at least Ms. Barrons              20      A    Well, some payers pay differently. Payers
21 has been permitted to set the market rate for the                  21 pay differently from one another. They can.
                                                           Page 131                                                           Page 133
 1 individual market.                                                  1      Q    Well, normally in a market, payors with
 2      Q    I don't understand what you mean by saying                2 greater influence pay less and payors with less
 3 that Ms. Barrons had been permitted to set the                      3 influence pay more, other things being equal, right?
 4 individual market rate.                                             4      A    True. Yes.
 5      A    So our analysis of reasonable value                       5      Q    And so you said that in doing your
 6 assumes, without trying to define, that Ms. Barrons has             6 calculations of reasonable value you look at what group
 7 offered an estimation of what the -- an individual                  7 a given payor falls into?
 8 would pay out of pocket, someone without insurance. We              8      A    Correct.
 9 accept that estimation as being a valid description of              9      Q    And so in this document, that we have
10 what the cost of services are for the uninsured person.            10 labeled Exhibit 4, are these headings: Employer, non
11 And we apply it to our analysis. We don't question                 11 group, Medicaid, Medicare, other public, uninsured.
12 that number.                                                       12 Are these categories of payor in the healthcare
13          Then we use that number as a part of the                  13 marketplace?
14 many numbers that we're given in the pool of                       14      A    Yes.
15 individuals participating in that market to arrive at              15      Q    And some of these payors have more
16 what the reasonable value of goods and services are in             16 influence over the price they can command than others
17 that market.                                                       17 do, right?
18      Q    So let's look back -- I think I understand               18      A    Correct.
19 what you're saying. Lets look back at Exhibit 4, the               19      Q    Medicaid, for example, sort of pays what
20 Georgia percentages. Do you have that available?                   20 Medicaid wants to pay?
21      A    I'm sure it's somewhere. I can't find it.                21      A    Correct.

                                                                                                          34 (Pages 130 - 133)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 36 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 134                                                              Page 136
 1      Q    Medicaid gets to dictate a reimbursement                  1 complicated. But the bottom line is that there are
 2 schedule, correct?                                                  2 features of Social Security law that impact how --
 3      A    Medicaid sets a fee schedule. It doesn't                  3 impact private insurance behavior in the marketplace.
 4 really dictate -- yes. It has a fairly structured                   4 Without going into a lot of detail, there really are
 5 formula. And it does have to -- it works with the --                5 rules in terms of how much -- or how the marketplace
 6 for all intents and purposes, say the American Medical              6 will behave in the sense that sellers can only charge
 7 Association, along with several other entities, get                 7 what's reasonable and buyers are protected to the point
 8 together and work out, with whatever federal entity,                8 where they're not going to be allowed to really
 9 what the pricing ought to be based on a sort of formula             9 purchase what's not reasonable. That's kind of how our
10 what the fees and costs might be.                                  10 market works in a very simplistic description.
11      Q    And Medicaid also has the additional clout               11      Q    Well, I think -- let's get back to our line
12 in the marketplace of being a public agency with                   12 of questioning, because we want to try to wrap it up in
13 appropriated funds and regulations that require it to              13 the next few minutes.
14 be accepted under certain circumstances, right?                    14          I think we agreed that each of these
15      A    You're referring to Medicare, correct, not               15 categories of payor has a different degree of influence
16 Medicaid necessarily, right?                                       16 over the price that it can command in the marketplace.
17      Q    Well, both. But, yeah, Medicare. You know                17          Is that correct?
18 more than I do, obviously, about the differences.                  18      A    Yes.
19          But Medicare would be in a similar position               19      Q    And that influence depends, in part, on the
20 in that it is also a federal program that can, at the              20 volume of business that the category of payors
21 end of the day, make a decision about what a schedule              21 represent or payee, right? Let me give you an example
                                                           Page 135                                                              Page 137
 1 of reimbursement is going to be?                                    1 if that question wasn't fair. If I'm BlueCross
 2      A    So that is -- the Medicare schedule --                    2 BlueShield, I represent a lot of people.
 3 Medicaid by the way is a state and federal program and              3      A    Yes.
 4 employers, and then, of course, you have VA and                     4      Q    And when I come to a hospital and say here
 5 uninsured. All of those different players in the                    5 is what I would like to pay -- or to a hospital system
 6 marketplace -- I'm using the word "player" quite                    6 and say here is what I would like to pay for these
 7 liberally now -- follow given sets of rules that are                7 services, the hospital system is going to push back to
 8 established by the federal government.                              8 a point but the negotiations are going to be influenced
 9          So whether we're talking about employers or                9 by the fact that they get a benefit from being certain
10 whether we're talking about the uninsured, there quite             10 of actually getting paid for this huge number of
11 literally are a set of rules by which individuals can              11 patients, right?
12 transact business in the market. We don't have an                  12      A    Okay.
13 unhindered I'm going to do and behave as I want. So to             13      Q    I mean do you agree with that?
14 that extent, yes, Medicare has rules. But those rules              14      A    I'm thinking about it. It's a bit more
15 that are related to Medicare's behavior are also                   15 complicated than that, actually a lot more complicated.
16 related to the behavior of private insurers in the                 16      Q    I'm just saying this is one factor.
17 market as well.                                                    17      A    Okay.
18      Q    The rules aren't completely identical,                   18      Q    Isn't that one factor? That if I
19 right?                                                             19 individually walk into a hospital and say, hey, this is
20      A    Well, interestingly enough, the -- as our                20 what I would like to pay, they'll tell me to pound
21 president has said, who knew healthcare was so                     21 sand. But if BlueCross walks in there and says this is

                                                                                                            35 (Pages 134 - 137)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 37 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 138                                                             Page 140
 1 what we would like to pay, there will be a negotiation.             1 being equal, larger players in the marketplace have
 2 And BlueCross gets to have that negotiation because it              2 more negotiating power?
 3 represents a large volume of business for the                       3      A    Absolutely. Now that is a true statement.
 4 hospitals, right?                                                   4 The larger you are, technically speaking, the more
 5      A    Yes. But BlueCross is also just like --                   5 negotiating pawer you have. And that's before we lay
 6 anyway, the bottom line is that they're all governed by             6 on top of this regulations and rules and laws and all
 7 a set of rules established under the Social Security                7 other kind of stuff. Yes.
 8 Act. So that might be a bad example. Anyway, the                    8      Q    Okay. And is that one reason why -- just
 9 bottom line is -- and BlueCross BlueShield is also a                9 one reason but is that one reason why Medicaid's
10 specific kind of entity. It's a not-for profit                     10 reimbursement rates are quite low compared to the face
11 operating in the market unless it's one of the                     11 value of a hospital bill or compared to what a private
12 for-profit BlueCross BlueShield, which is a different              12 insurance company would pay to reimburse for a service?
13 kind of entity.                                                    13      A    Yeah. One of it --
14          So if you're talking about a not-for profit               14      Q    In other words, Medicaid represents a whole
15 one, they do come in as a kind of purchaser. If we                 15 lot of people?
16 want to accept, for instance, that they are a large                16      A    Medicaid does represent a lot of people.
17 purchaser and they get to purchase in volume, that's               17 It's not the majority of the marketplace. It does
18 great. But, again, as I said before, there are certain             18 represent a lot of people.
19 rules around that purchasing behavior.                             19          If you look in the case of Georgia, it
20          And so the significant amount of savings                  20 represents about 17 percent of the marketplace. So
21 that you're talking about -- if they could charge a                21 that's not everybody.
                                                           Page 139                                                             Page 141
 1 hundred million dollars beyond what they wanted to --               1      Q    No, it's certainly not.
 2 or what something costs, they would. They're just not               2          Is there, in Georgia, an individual private
 3 permitted. There are limits.                                        3 insurance company that represents 17 percent of the
 4      Q    When you say they could charge --                         4 marketplace?
 5      A    I'm sorry --                                              5      A    I don't know the answer to that question
 6      Q    I'm talking about not what BlueCross                      6 off the top of my head. I would beg to argue the point
 7 charges consumers but what BlueCross tells the hospital             7 that to the extent -- the answer is both yes and no.
 8 it wants to pay for specific coded services.                        8 And you're going to laugh at the answer. So most --
 9      A    Right. So of course there are a bunch of                  9      Q    That's okay. I want to hear it.
10 negotiations around all of that. You're right.                     10      A    Most Medicaid -- state Medicaid plans
11          But at the end of the day, there is a                     11 have -- most of them don't run their own programs
12 specific band in terms of pricing that are applied to              12 anymore. Most of them outsource to insurers.
13 the cost of different items in a hospital setting. So              13 BlueCross BlueShield has a Medicaid plan. Aetna,
14 a hospital setting is different. And in a hospital                 14 United Healthcare, they all have these contracts with
15 setting, we have lots of things to contend with in                 15 the states and/or federal government if it's on the
16 terms of what's billed -- or rather what's charged and             16 Medicare side. And so essentially you've got the same
17 what is actually paid and even what is actually paid by            17 large insurers operating as the administrators for
18 an uninsured individual and how it's paid.                         18 these plans and making money based on those savings.
19      Q    I'm trying to get to it. And maybe this is               19 So they just operate these plans assuming the risks and
20 just afternoon and we're getting tired. I'm trying to              20 controlling costs through their own structures that
21 get to a specific point which is that, other things                21 they happen to have in place.

                                                                                                             36 (Pages 138 - 141)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 38 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                           Page 142                                                             Page 144
 1           So the same insurers who are handing                      1      A    There is lots of data out there -- we look
 2 employer-sponsored care are the same insurers who are               2 at it often -- about that the uninsured pays. More
 3 handling individual market care or same ones in general             3 importantly, that data can be fairly grandular in the
 4 handling Medicare and Medicare as well. It's the same               4 sense that we can even go so far as to look at what
 5 folks, just a different banner.                                     5 people pay based on race, ethnicity, and -- in terms of
 6      Q     But the banner seems to make a difference                6 the uninsured -- and age up until a certain point,
 7 in the reimbursement rate?                                          7 because the data is not collected below age nineteen.
 8      A     Well, yes, there is a difference in the                  8 But, yes.
 9 reimbursement rate, certainly on its face and certainly             9      Q    Where are those data collected?
10 the states have some rules. But -- so there is a                   10      A    Census Bureau collects that data. The
11 significant difference -- or can be a significant                  11 Medical Expenditure Panel Survey which is drawn from
12 difference between Medicaid and Medicare. And, really,             12 the Census Bureau collects that data. The National
13 that's about the population and what the needs of that             13 Insurance Health -- National Interview Health -- I am
14 population happen to be.                                           14 getting tired. I can't remember the exact name. It
15      Q     Would you agree that of the categories of               15 does a quarterly update on that kind of information.
16 purchaser that are listed on Exhibit 4 the one with the            16          So the data is out there. It talks in a
17 least negotiating power is the uninsured?                          17 very general way and sometimes in a very specific way
18      A     I would think that the -- I would say that              18 about that what the uninsured experience as cost, which
19 the least -- the uninsured are in a category that is --            19 is important to know.
20 they're operating pretty much by themselves in that                20          But at the same time, when one is speaking
21 sense or the -- we call them the self-insured. Because             21 about reasonable value, that is still a very different
                                                           Page 143                                                             Page 145
 1 the self-insured are individuals who are willing or do 1 question. And I would argue that the reasonable value
 2 pay out of pocket. And so in that sense, they violate               2 of care is more likely than not what an individual will
 3 the law by not adhering to the mandate to not have                  3 experience in Georgia if they don't have insurance.
 4 insurance -- to not be a part of one of those groups.               4 Something closer to the reasonable value is what I
 5            But certainly in this particular case,                   5 would like to say.
 6 there is really no reason for the plaintiff to be in                6      Q      Do you have those data for Georgia?
 7 that group.                                                         7      A      What do you mean?
 8       Q     Well, that wasn't my question though. My                8      Q      Well, the data about what uninsured people
 9 question is, the uninsured, as a group, really don't                9 pay.
10 have any negotiating power?                                        10      A      Do I have the data about what uninsured
11       A     No.                                                    11 people pay? I have --
12       Q     They're not represented or organized?                  12      Q      These --
13       A     Well, to the extent that they are                      13      A      Hold on.
14 uninsured, they are not a part of any plan. Correct.               14          In this analysis, I accepted the
15 They pay out of pocket. Correct. The amounts that 15 plaintiff's number as being the amount that uninsured
16 they pay can vary, but there is generally an amount                16 persons pay in the market.
17 that -- there is still a sense that they pay an amount             17          Would you like me to go get a different
18 that is commonly found in the locale or that's a                   18 number?
19 prevailing rate in the market.                                     19      Q      No.
20       Q     Are there reliable data about what the                 20          My question is, in doing your analysis --
21 uninsured actually pay?                                            21 and we'll get to your calculations next time. My

                                                                                                            37 (Pages 142 - 145)
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Case 1:17-cv-00015-JRH-BKE Document 217-2 Filed 09/03/19 Page 39 of 39
                            Thomas Dawson , III                 June 12, 2019
                              Willis vs. USA
                                                            Page 146                                                              Page 148
 1 question is, in doing your analysis, did you go pull                 1         ERRATA SHEET
 2 the data on what uninsured people pay in Georgia?                    2 Case:
 3      A    Well, the answer to that question is no.                   3 Witness:        Date:
 4 We allowed your -- the plaintiff to provide us with                  4 PAGE/LINE            SHOULD READ          REASON FOR
 5 that number. And the reason we allowed the plaintiff                 5 CHANGE
 6 to provide us with that number is because in                         6 ____________________________________________________
 7 determining the reasonable value it tends to be a                    7 ____________________________________________________
 8 little -- when looking at the reasonable value, it is,               8 ____________________________________________________
 9 in my estimation, more appropriate to allow the                      9 ____________________________________________________
10 plaintiff or whomever the party is presenting the                   10 ____________________________________________________
11 number at that given time, to be able to describe what              11 ____________________________________________________
12 they believe to be the value of care to them as an                  12 ____________________________________________________
13 uninsured person.                                                   13 ____________________________________________________
14          MR. MOORE: I think what we'll do now -- I                  14 ____________________________________________________
15 know Shannon has to go. I think we will go ahead and                15 ____________________________________________________
16 adjourn now and reconvene Tuesday at 1:30.                          16 ____________________________________________________
17          (Deposition concluded at 2:50 P.M.)                        17 ____________________________________________________
18                                                                     18 ____________________________________________________
19                                                                     19 ____________________________________________________
20                                                                     20 ____________________________________________________
21                                                                     21 ____________________________________________________

                                                            Page 147                                                              Page 149
 1            CERTIFICATE OF DEPONENT                                   1 State of Maryland
 2                                                                      2 Prince George's County, to wit:
 3       I hereby certify that I have read and examined                 3            I, HEATHER AVALOS, a Notary Public of the
 4 the foregoing transcript, and the same is a true and                 4 State of Maryland, County of Prince George's, do hereby

 5 accurate record of the testimony given by me.                        5 certify that the within-named witness personally

 6                                                                      6 appeared before me at the time and place herein set
                                                                        7 out, and after having been duly sworn by me, according
 7       Any additions or corrections that I feel are
                                                                        8 to law, was examined by counsel.
 8 necessary will be made on the Errata Sheet.
                                                                        9            I further certify that the examination was
 9
                                                                       10 recorded stenographically by me and this transcript is
10
                                                                       11 a true record of the proceedings.
11
                                                                       12            I further certify that I am not of counsel
12                  ________________________
                                                                       13 to any of the parties, nor in any way interested in the
13            Thomas J. Dawson, III, Esquire, MHP, MA
                                                                       14 outcome of this action.
14
                                                                       15            As witness my hand this 17th day of
15                  _________________________                          16 June, 2019.
16                         Date                                        17
17                                                                                      <%17418,Signature%>
18 (If needed, make additional copies of the Errata Sheet              18               HEATHER AVALOS,
19 on the next page or use a blank piece of paper.)                    19         Notary Public
20                                                                     20 My Commission Expires:
21                                                                     21 December 29, 2019

                                                                                                              38 (Pages 146 - 149)
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